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     UNITED STATES BANKRUPTCY COURT
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     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     COLE SCHOTZ P.C.
     Michael D. Sirota, Esq.
     Warren A. Usatine, Esq.
     Felice R. Yudkin, Esq.
     Court Plaza North, 25 Main Street                                            Order Filed on June 21, 2023
     Hackensack, New Jersey 07601                                                 by Clerk
     (201) 489-3000                                                               U.S. Bankruptcy Court
     msirota@coleschotz.com                                                       District of New Jersey
     wusatine@coleschotz.com
     fyudkin@coleschotz.com

     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP Joshua
     A. Sussberg, P.C. (admitted pro hac vice) Emily E. Geier,
     P.C. (admitted pro hac vice)
     Derek I. Hunter (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     Telephone: (212) 446-4800
     Facsimile: (212) 446-4900
     joshua.sussberg@kirkland.com
     emily.geier@kirkland.com
     derek.hunter@kirkland.com

     Co-Counsel for Debtors and Debtors in Possession
     In re:                                                             Chapter 11
     BED BATH & BEYOND INC., et al.,
                                                                        Case No. 23-13359 (VFP)
              Debtors.1
                                                                        (Jointly Administered)
                       ORDER AUTHORIZING THE DEBTORS TO
              (I) DESIGNATE OVERSTOCK.COM, INC. AS THE STALKING
        HORSE BIDDER AND (II) ENTER INTO THE STALKING HORSE AGREEMENT




 DATED: June 21, 2023




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.
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       The relief set forth on the following pages, numbered four (4) through and including

 five (5), is ORDERED.




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 Debtors:                BED BATH & BEYOND INC., et al.
 Case No.                23-13359-VFP
 Caption:                Order Authorizing the Debtors to (I) Designate Overstock.com, Inc. as the
                         Stalking Horse Bidder; and (II) Enter Into the Stalking Horse Agreement.

         Upon the Debtors’ Motion Seeking Entry of an Order (I) Approving the Auction and

 Bidding Procedures, (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid

 Deadlines and an Auction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving

 the Form APA, (VI) Establishing Notice and Procedures for the Assumption and Assignment of

 Contracts and Leases, (VII) Authorizing the Assumption and Assignment of Assumed Contracts,

 (VIII) Authorizing the Sale of Assets and (IX) Granting Related Relief, 2 (the “Motion”) of the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an

 order (this “Order”) (a) authorizing the Debtors to select Overstock.com (the “Buyer” or “Stalking

 Horse Bidder”) as Stalking Horse Bidder pursuant to an asset purchase agreement (together with

 the schedules thereto and related documents, and as may be amended, supplemented or otherwise

 modified from time to time, the (“Stalking Horse Agreement”), by and among certain of the

 Debtors, as sellers (collectively, the “Sellers”) and the Buyer, attached hereto as Exhibit A, and

 (b) authorizing the Debtors to enter into the Stalking Horse Agreement, without need for any

 further hearing; and the Court having jurisdiction to consider the Motion and the relief requested

 therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the

 Bankruptcy Court Under Title 11 of the United States District Court for the District of New Jersey,

 entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having

 found that venue of this proceeding and the Motion in this district is proper pursuant to

 28 U.S.C. §§ 1408 and 1409; and this Court having found that no objections were timely filed in

 response to the Debtors’ Notice of Selection of Stalking Horse Bidder [Docket No. 708] (the


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bidding
     Procedures Order.



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 Case No.             23-13359-VFP
 Caption:             Order Authorizing the Debtors to (I) Designate Overstock.com, Inc. as the
                      Stalking Horse Bidder; and (II) Enter Into the Stalking Horse Agreement.
 “Stalking Horse Notice”); and this Court having found that the Stalking Horse Bidder is not an

 “insider” or “affiliate” of any of the Debtors, as those terms are defined in section 101 of the

 Bankruptcy Code, and no common identity of directors, officers, or controlling stockholders exists

 among the Stalking Horse Bidder and the Debtors; and this Court having found that the Stalking

 Horse Bidder and its counsel and advisors have acted in “good faith” within the meaning of section

 363(m) of the Bankruptcy Code in connection with the Stalking Horse Bidder’s negotiations of

 the bid protections included in the Stalking Horse Notice and Stalking Horse Agreement (the “Bid

 Protections”) and entry into the Stalking Horse Agreement; and this Court having determined that

 the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

 and upon all of the proceedings had before the Court and after due deliberation and sufficient cause

 appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Debtors are authorized to designate Overstock.com, Inc. as Stalking Horse

 Bidder with respect to the Acquired Assets (as defined in the Stalking Horse Agreement).

        2.      The Debtors are authorized to enter into the Stalking Horse Agreement, in

 accordance with the terms of this Order and the Order (I) Approving the Auction and Bidding

 Procedures, (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and an

 Auction, (IV) Approving the Form and Manner of Notice Thereof, and (V) Granting Related Relief

 [Docket No. 92] (the “Bidding Procedures Order”).

        3.      The Stalking Horse Agreement shall be deemed a Qualified Bid, subject to higher

 or otherwise better offers at the Auction.




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 Case No.             23-13359-VFP
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                      Stalking Horse Bidder; and (II) Enter Into the Stalking Horse Agreement.
        4.      The Debtors are authorized to perform any and all obligations set forth in the

 Stalking Horse Agreement that are intended to be performed prior to the Sale Hearing and prior to

 entry of the Sale Order.

        5.      The Bid Protections for the Stalking Horse Bidder are approved in their entirety.

 The Debtors are authorized, but not directed, to pay any amounts that may become due to the

 Stalking Horse Bidder on account of the Bid Protections on the terms set forth in the Stalking

 Horse Agreement.

        6.      The Debtors’ notice of the Stalking Horse Agreement was (i) appropriate and

 reasonably calculated to provide all interested parties with timely and proper notice, (ii) in

 compliance with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and

 the Local Rules, and (iii) adequate and sufficient under the circumstances of these chapter 11 cases,

 and no other or further notice is required. A reasonable opportunity to object or be heard regarding

 the relief granted by this Order has been afforded to all interested persons and entities.

        7.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h) or

 otherwise, the terms and conditions of this Order shall be immediately effective and enforceable

 upon entry.

        8.      All time periods set forth in this Order shall be calculated in accordance with

 Bankruptcy Rule 9006(a).

        9.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                   Exhibit A

                            Stalking Horse Agreement
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                                                        EXECUTION VERSION




                        ASSET PURCHASE AGREEMENT

                           DATED AS OF JUNE 12, 2023

                                BY AND AMONG

                           BED BATH & BEYOND INC.,

                            OVERSTOCK.COM, INC.

                  AND THE OTHER PARTIES SIGNATORY HERETO




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 EXHIBIT B           Form of Bill of Sale and Assignment and Assumption Agreement

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                               ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made as of June 12, 2023
 (the “Effective Date”), by and among Overstock.com, Inc., a Delaware corporation (“Buyer”), and
 Bed Bath & Beyond Inc., a New York corporation (“BBBY”), and certain Subsidiaries of BBBY
 set forth on Annex A hereto (collectively and together with BBBY and each other Subsidiary of
 BBBY that has a right, title and interest in the Acquired Assets or Assumed Liabilities, “Sellers”
 and each individually a “Seller”). Capitalized terms used herein and not otherwise defined herein
 have the meaning set forth in Article I.

                                             RECITALS

        WHEREAS, Sellers are engaged in the business of marketing, providing and selling
 merchandise, interior design, home furnishings and related accessories and services under or in
 connection with the “BED BATH & BEYOND” brand and the other Trademarks identified on
 Section 2.1(a) of the Disclosure Schedules (collectively, the “Business”), as well as marketing,
 providing, and selling baby-related merchandise, baby specialty products, beauty supplies and
 other related accessories and services under or in connection with the “HARMON” and
 “buybuyBaby” brands and the other Trademarks identified on Section 2.2(a) of the Disclosure
 Schedules (collectively, the “Excluded Businesses”);

        WHEREAS, on April 23, 2023, Sellers filed a voluntary petition for relief (the “Filing”)
 commencing a case under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy
 Court for the District of New Jersey (the “Bankruptcy Court”);

         WHEREAS, Buyer has delivered, or is delivering within one Business Day of the Effective
 Date, to the Deposit Escrow Agent an amount in cash equal to 10% of the Cash Consideration (the
 “Deposit”) in immediately available funds pursuant to the terms of the Bidding Procedures Order;

         WHEREAS, Sellers believe, following consultation with their financial advisors and
 consideration of available alternatives, that, in light of the current circumstances, a sale of certain
 of Sellers’ intellectual property and other assets as provided herein is necessary to preserve and
 maximize value, and is in the best interest of Sellers, their creditors, and other stakeholders;

         WHEREAS, Sellers desire to sell to Buyer all of the Acquired Assets (defined below) and
 transfer to Buyer the Assumed Liabilities (defined below) and Buyer desires to purchase from
 Sellers all of the Acquired Assets and assume all of the Assumed Liabilities, in each case upon the
 terms and conditions hereinafter set forth;

         WHEREAS, the execution and delivery of this Agreement and Sellers’ ability to
 consummate the transactions set forth in this Agreement are subject to, among other things, the
 entry of the Sale Order under, inter alia, Sections 363 and 365 of the Bankruptcy Code; and

       WHEREAS, the Parties desire to consummate the proposed transactions set forth in this
 Agreement as promptly as practicable after the Bankruptcy Court enters the Sale Order.

        NOW, THEREFORE, in consideration of the premises and the mutual promises herein
 made, and in consideration of the representations, warranties and covenants herein contained, the
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 receipt and adequacy of which are hereby acknowledged and intending to be legally bound hereby,
 the Parties agree as follows:

                                           ARTICLE I

                                          DEFINITIONS

       Section 1.1     Definitions. For purposes of this Agreement, the following terms have the
 meanings specified or referenced below.

        “Acquired Assets” shall have the meaning set forth in Section 2.1.

        “Advisors” means, with respect to any Person, any directors, officers, employees,
 investment bankers, financial advisors, accountants, agents, attorneys, consultants, or other
 representatives of such Person.

         “Affiliate” means, with respect to any Person and as of any relevant time, any other Person
 directly or indirectly controlling, controlled by, or under common control with, such other Person.
 For purposes of this definition, “control” when used with respect to any Person means the power
 to direct the management and policies of such Person, directly or indirectly, whether through the
 ownership of voting securities, by contract or otherwise, and the terms “controlling” and
 “controlled” have correlative meanings.

        “Agreement” shall have the meaning set forth in the Preamble.

        “Agreement Dispute” shall have the meaning set forth in Section 12.13.

        “Allocation” shall have the meaning set forth in Section 3.6(a).

        “Allocation Objection Notice” shall have the meaning set forth in Section 3.6(a).

         “Alternative Transaction” means any transaction (or series of transactions), whether direct
 or indirect, whereby any Person or group of Persons (other than Sellers and their Affiliates or
 Buyer and its Affiliates) acquires a material portion of the Acquired Assets, in each case whether
 by merger, sale of assets or equity, recapitalization, plan of reorganization or otherwise.
 Notwithstanding the foregoing, neither (i) a liquidation or wind-down of Sellers’ estates nor (ii)
 one or more Sellers engaging in a transaction or transactions to divest all or any portion of an
 Excluded Business, shall be an Alternative Transaction.

        “Alternative Transaction Trigger” shall have the meaning set forth in Section 10.2(c).

        “Assignment and Assumption Agreement” shall have the meaning set forth in
 Section 4.2(e).

        “Assumed Liabilities” shall have the meaning set forth in Section 2.4.

        “Auction” shall have the meaning set forth in the Bidding Procedures.




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        “Backup Bidder” shall have the meaning set forth in Section 7.1(c).

        “Bankruptcy Case” means, collectively, the bankruptcy cases commenced by Sellers under
 Chapter 11 of the Bankruptcy Code in the Bankruptcy Court in the Filing.

        “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et seq.

        “Bankruptcy Court” shall have the meaning set forth in the Recitals.

        “BBBY” shall have the meaning set forth in the Preamble.

         “Bidding Procedures” means the bidding procedures attached as Exhibit 1 to the Bidding
 Procedures Order and approved by the Bankruptcy Court pursuant to the Bidding Procedures Order
 and as amended and supplemented.

        “Bidding Procedures Order” means the Order, (I) Approving the Auction and Bidding
 Procedures, (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and an
 Auction, (IV) Approving the Form and Manner of Notice Thereof, and (V) Granting Related Relief
 (Docket No. 92).

        “Breakup Fee” shall have the meaning set forth in Section 10.2(c).

         “Business Data” means all books, records, data, databases, taxonomies, documents and
 files collected, held or used in connection with the Business, including (to the extent collected,
 held or used in connection with the Business) all (i) vendor and supplier lists and associated
 information, (ii) customer data, together with all data held or collected in connection therewith (in
 any data field), including all contact information, demographic information, transaction and usage
 histories, registry information, loyalty program data (including with respect to customer
 participation, loyalty tiers, reward balances and other information) and gift card information
 (including with respect to usage, cards issued and balances), (iii) customer opt-out or opt-in lists,
 (iv) current customer models, segmentation, life time value, share of wallet, probability to shop
 and next product to buy, and other customer-based analyses or reports, (v) blog content, social
 media content, analytics (including data relating to Internet Properties) visitor data, product review
 and user-generated content (including images, text, video and all other content), (vi) other cost,
 pricing and sales data, (vii) other information incorporated in or relating to any other Acquired
 Asset (including the development, maintenance, use or operation thereof), and (viii) usernames,
 passwords and credentials used to access, use, manage, maintain or renew any of the foregoing, in
 all cases set forth in the foregoing clauses (i) through (viii), whether such information is stored by
 or on behalf of Sellers or any of their Affiliates.

        “Business Day” means any day of the year, other than a Saturday or Sunday, on which
 national banking institutions in New York, New York are open to the public for conducting
 business and are not required or authorized by Law to close.

        “Business Internet Properties” means all Internet Properties used or held for use primarily
 in connection with the Business and operated by or on behalf of Sellers or any of their Affiliates,
 including the Internet domain names and Social Media Accounts listed on Section 2.1(b) of the
 Disclosure Schedules, together with (i) all site maps, templates, style guides, design materials and


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 content (including any text, fonts, colors, cascading style sheets (CSS), layouts, video, images,
 graphics and e-mail templates) made available thereon, (ii) all blog content posted on the foregoing
 Internet Properties, (iii) all usernames, passwords and credentials used to access, use, manage,
 maintain or renew any of the foregoing, and (iv) any documentation, information and other
 materials used or held for use primarily in connection with any of the foregoing.

         “Business IP” means all Intellectual Property owned by or licensed exclusively to any
 Seller or any of its Affiliates (other than pursuant to an Excluded Listed Contract) that (i) is or was
 used, acquired, developed or held for use, in each case, primarily in or primarily for the operation
 of the Business, (ii) is embodied in and relates primarily to any other Acquired Assets (including
 the development, maintenance, use or operation thereof), or (iii) is otherwise identified on
 Section 2.1(a) of the Disclosure Schedules.

        “Buyer” shall have the meaning set forth in the Preamble.

        “Buyer Group” means Buyer, any Affiliate of Buyer and any future Affiliate of Buyer.

        “Cash Consideration” means Twenty-One Million Five Hundred Thousand U.S. dollars
 ($21,500,000).

        “Chosen Courts” shall have the meaning set forth in Section 12.13.

         “Claims” means all claims, causes of action, rights of recovery (including rights of
 indemnity, warranty rights, rights of contribution, rights to refunds and rights to reimbursement)
 and rights of set-off, in each case, of whatever kind or description against any Person (including
 any claim as defined in the Bankruptcy Code).

        “Closing” shall have the meaning set forth in Section 4.1.

        “Closing Date” shall have the meaning set forth in Section 4.1.

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Confidentiality Agreement” means that certain letter agreement, dated as of January 26,
 2023, by and between Bed Bath & Beyond, Inc. and Overstock.com, Inc.

        “Consent” means any approval, consent, ratification, permission, waiver, Governmental
 Authorization or other authorization, or an Order of the Bankruptcy Court that renders unnecessary
 the same.

          “Contract” means any contract, agreement, undertaking, lease, sublease, license,
 sublicense, sales order, purchase order or other instrument or commitment, whether written or oral,
 that is binding on any Person or any part of its property under applicable Law.

         “Cure Costs” means, with respect to any Contract, the amount required to be paid with
 respect to such Contract to cure all monetary defaults under such Contract to the extent required
 by section 365(b) of the Bankruptcy Code.



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        “Dataroom” shall have the meaning set forth in Section 5.13.

        “Deposit” shall have the meaning set forth in the Recitals.

        “Deposit Escrow Agent” means Kroll Restructuring Administration LLC.

         “Documents” means all of Sellers’ written files, documents, instruments, papers, books,
 reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans, operating
 records, safety and environmental reports, data, studies, and documents, ledgers, journals, title
 policies, customer lists, regulatory filings, operating data and plans, research material, technical
 documentation (design specifications, engineering information, test results, logic manuals,
 processes, flow charts, etc.), user documentation (installation guides, user manuals, training
 materials, release notes, working papers, etc.), marketing documentation (sales brochures, flyers,
 pamphlets, web pages, etc.), and other similar materials, in each case whether or not in electronic
 form.

        “Effect” shall have the meaning set forth in the definition of “Material Adverse Effect”.

        “Effective Date” shall have the meaning set forth in the Preamble.

         “Encumbrance” means any lien (as defined in section 101(37) of the Bankruptcy Code),
 encumbrance, claim (as defined in section 101(5) of the Bankruptcy Code), charge, mortgage, deed
 of trust, option, pledge, security interest or similar interests, title defects, hypothecations,
 easements, rights of way, encroachments, Orders, conditional sale or other title retention
 agreements and other similar impositions, imperfections or defects of title or restrictions on
 transfer or use.

        “Enforceability Exceptions” shall have the meaning set forth in Section 5.2.

       “Escrow Account” means the escrow account established pursuant to the Escrow
 Agreement to hold the GoB Escrow Amount and the IP Escrow Amount.

        “Escrow Agent” means Acquiom Clearinghouse LLC.

        “Escrow Agreement” means a mutually agreed customary escrow agreement consistent
 with the terms of this Agreement.

         “Excess Cure Costs” means, with respect to any individual Transferred Contract, the
 amount of Cure Costs with respect to such Transferred Contract as determined by the Bankruptcy
 Court that exceeds the expected amount of Cure Costs set forth on Section 2.4(c) of the Disclosure
 Schedules with respect to such Transferred Contract. For the avoidance of doubt, if any individual
 Transferred Contract does not appear on Section 2.4(c) of the Disclosure Schedules or if the
 expected amount set forth on Section 2.4(c) of the Disclosure Schedules with respect to any
 individual Transferred Contract is listed as “$-”, the expected amount set forth on Section 2.4(c)
 of the Disclosure Schedules with respect to such Transferred Contract shall be deemed to be $0.

        “Excluded Assets” shall have the meaning set forth in Section 2.2.



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        “Excluded Businesses” shall have the meaning set forth in the Recitals.

        “Excluded Listed Contracts” shall have the meaning set forth in Section 2.2(d).

        “Excluded Liabilities” shall have the meaning set forth in Section 2.5.

         “Excluded Software” means all Software owned, held or operated by Sellers in connection
 with the Business, excluding Software constituting part of the Mobile Platform or Business
 Internet Properties.

         “Excluded Taxes” means any Liability, obligation or commitment, whether or not accrued,
 assessed, or currently due and payable, for any: (i) Taxes imposed on or payable by any Seller or
 its respective Affiliates for any Tax period (including any Taxes required to be withheld from the
 Purchase Price or any other payments or consideration payable to any Sellers hereunder pursuant
 to Section 2.6); (ii) Taxes imposed with respect to any of the Acquired Assets, any of the Assumed
 Liabilities or the Business for any Pre-Closing Tax Period, allocated in accordance with
 Section 11.2; (iii) Taxes imposed on or with respect to any of the Excluded Assets or any of the
 Excluded Liabilities for any Tax period; (iv) any Transfer Taxes for which Sellers are responsible
 pursuant to Section 11.1; (v) Taxes imposed on Buyer or any of its Affiliates as a transferee or
 successor to any Seller or its respective Affiliates by operation of Law; and (vi) Periodic Taxes for
 which Sellers are responsible pursuant to Section 11.2; provided that Excluded Taxes shall not
 include any Transfer Taxes or Periodic Taxes for which Buyer is responsible pursuant to
 Section 11.1 or Section 11.2.

       “Excluded Trademarks” means all Trademarks owned by Sellers, excluding those
 Trademarks constituting Business IP.

        “Expense Reimbursement” shall have the meaning set forth in Section 10.2(b).

        “Express Representations” shall have the meaning set forth in Section 5.13.

        “Filing” shall have the meaning set forth in the Recitals.

        “Fraud” means common law fraud under Delaware Law, for the avoidance of doubt, taking
 into account the terms and conditions of this Agreement (including Section 5.13, Section 6.9,
 Section 8.14, Section 12.1, Section 12.7, and Section 12.10), but does not include any fraud claim
 based on constructive knowledge, negligent misrepresentation, recklessness or a similar theory,
 equitable fraud, promissory fraud or any other fraud or torts based on recklessness or negligence).

        “Fundamental Representations” shall have the meaning set forth in Section 9.2(a).

         “GAAP” means United States generally accepted accounting principles as in effect from
 time to time.

        “GoB Certificate” has the meaning set forth in Section 3.5(a).

        “GoB Escrow Amount” means an amount equal to $5,000,000.



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         “GoB Payout Amount” means the GoB Escrow Amount less, if the GoB Certificate is not
 delivered to Buyer on or prior to July 31, 2023 an amount equal to $1,250,000 on August 1, 2023
 and at the end of each seven-day period thereafter, until either the GoB Certificate is delivered to
 Buyer or the GoB Payout Amount is reduced to zero.

         “Governmental Authority” means any United States federal, state, municipal or local or
 any foreign government, governmental agency or authority, or regulatory or administrative
 authority, or any court, tribunal or judicial body having jurisdiction, including the Bankruptcy
 Court.

        “Governmental Authorization” means any permit, license, certificate, approval, consent,
 permission, clearance, designation, qualification, or authorization issued, granted, given or
 otherwise made available by or under the authority of any Governmental Authority or pursuant to
 any Law.

        “Independent Arbiter” shall have the meaning set forth in Section 3.6(a).

        “Information Presentation” shall have the meaning set forth in Section 5.13.

         “Intellectual Property” means all of the following: (i) patents, inventions, invention
 disclosures, industrial designs and utility models; (ii) trademarks, service marks, logos, trade dress,
 trade names, corporate names, and other indicia of commercial source or origin, and goodwill
 associated with any of the foregoing (“Trademarks”); (iii) copyrights and all works of authorship,
 whether copyrightable or not, including any Software and rights therein; (iv) Internet domain
 names, URLs, internet protocol addresses, Social Media Accounts, websites, and all the content
 provided on the foregoing (collectively, “Internet Properties”); (v) trade secrets, industrial secret
 rights, and know-how, data, databases and confidential or proprietary information, including
 customer lists, supplier lists, processes, protocols, specifications, drawings, schematics, analyses,
 plans, techniques, technical plans and other forms of technology (whether or not embodied in any
 tangible form, and including all tangible embodiments of the foregoing, such as notebooks,
 samples, studies and summaries); (vi) rights in or associated with any of the foregoing, and all
 other intellectual property rights and proprietary rights, in each case, arising in any jurisdiction of
 the world; and (vii) any registrations of and pending applications to register any of the foregoing
 clauses (i) through (vi), together with all renewals, reissuances, continuations, continuations-in-
 part, divisionals, revisions, extensions, and reexaminations thereof.

        “Internet Properties” shall have the meaning set forth in the definition of Intellectual
 Property.

        “IP Condition” has the meaning set forth in Section 8.14.

       “IP Escrow Amount” means an amount set forth in Section 8.14 of the Disclosure
 Schedules.

         “Knowledge” means, with respect to any matter in question, in the case of Sellers, the
 actual knowledge of each of Sue Gove, Holly Etlin and David Kastin, in each case, after reasonable
 inquiry of applicable direct reports.



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         “Law” means any federal, state, provincial, local, municipal, foreign or international,
 multinational or other law, statute, legislation, constitution, principle of common law, resolution,
 ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation, ruling, Order,
 directive, pronouncement, determination, decision, opinion or requirement issued, enacted,
 adopted, promulgated, implemented or otherwise put into effect by or under the authority of any
 Governmental Authority.

         “Liability” means, as to any Person, any debt, adverse claim, liability, duty, responsibility,
 obligation, commitment, assessment, cost, expense, loss, Tax, expenditure, charge, fee, penalty,
 fine, contribution, or premium of any kind or nature whatsoever, whether known or unknown,
 asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued, liquidated
 or unliquidated, or due or to become due, and regardless of when sustained, incurred or asserted
 or when the relevant events occurred or circumstances existed.

        “Malicious Code” shall have the meaning set forth in Section 5.8(f).

         “Material Adverse Effect” means (i) any material adverse change to the Acquired Assets
 and the Assumed Liabilities or the value thereof, taken as a whole, or (ii) any event, change
 condition, circumstance, development or effect that, individually or in the aggregate, would
 reasonably be expected to prevent or materially impair or delay the ability of Sellers to
 consummate the Closing; provided, however, that, in the case of the foregoing clause (I) only, no
 event, change, condition, circumstance, development or effect (or the result thereof) (each an
 “Effect”) shall be taken into account, individually or in the aggregate, in determining whether a
 Material Adverse Effect has occurred to the extent arising from or relating to: (A) the execution,
 announcement or pendency of this Agreement or the Filing (including the effect of the foregoing
 on the relationship with the customers, suppliers, landlords, employees, consultants or competitors
 of Sellers or their respective Affiliates); provided that this clause (A) shall not apply to the
 representations and warranties that, by their terms, specifically address the consequences arising
 out of the pendency or consummation of the transactions contemplated herein; (B) actions or
 omissions taken or not taken by or on behalf of Sellers or any of their Affiliates at the written
 request of Buyer; (C) failure of Sellers or any of their Affiliates to meet any internal or published,
 projections, forecasts, estimates or predictions (provided, that this clause (C) shall not prevent a
 determination that any change, event, circumstance or effect underlying such failure has resulted
 in a Material Adverse Effect, unless such change, event, circumstance or effect is otherwise
 separately excepted by this definition); (D) changes or prospective changes in applicable Law or
 GAAP, or changes or prospective changes in the interpretation or enforcement of any of the
 foregoing, or any changes or prospective changes in general legal, regulatory or political
 conditions, in each case, after the Effective Date; (E) volcanoes, tsunamis, effects of climate
 change, earthquakes, floods, storms, hurricanes, tornadoes, fires, epidemics, pandemics, disease,
 outbreak, public health crises or acts of god or natural disasters or man-made disasters, in each
 case, including any direct or indirect consequence or condition thereof, including outbreaks or
 additional waves of outbreaks of any contagious diseases (including influenza, COVID-19 or any
 variation thereof); (F) general events or conditions generally affecting the industry, markets or
 geographic areas in which the Business operates; (G) national or international political or social
 conditions, including tariffs, riots, protests, the engagement by the United States or other country
 in hostilities or the escalation thereof, whether or not pursuant to the declaration of a national
 emergency or war, or the occurrence or the escalation of any military, cyber or terrorist (whether


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 or not state-sponsored) attack upon the United States or any other country, or any of its territories,
 possessions, or diplomatic or consular offices or upon any military installation, asset, equipment
 or personnel of the United States or of any other country; (H) financial, banking, or securities
 markets; (I) (1) the commencement or pendency of the Bankruptcy Cases; (2) any objections in
 the Bankruptcy Court to (w) this Agreement or any of the transactions contemplated hereby, (x) the
 Sale Order or the reorganization or liquidation of Sellers, (y) the Expense Reimbursement or
 Breakup Fee, or (z) the assumption or rejection of any Transferred Contract; or (3) any Order of
 the Bankruptcy Court or any actions or omissions of Sellers in compliance therewith; provided,
 however, that, in the case of clauses (D) through (H), such events, changes, conditions,
 circumstances, developments or effects shall be taken into account in determining whether any
 such material adverse effect has occurred to the extent that any such events, changes, conditions,
 circumstances, developments or effects have a disproportionate adverse change on the Acquired
 Assets and the Assumed Liabilities, taken as a whole, relative to similar assets and liabilities, in a
 similar industry or market.

        “Material Contract” shall have the meaning set forth in Section 5.5(a).

        “Mobile Platform” means all consoles, certificates, profiles, identifiers, files, keys, API,
 and any other information, documentation or materials necessary or useful for maintaining user
 accessibility to the mobile Software applications made available through the Apple App Store or
 the Google Play Store by or on behalf of Sellers in connection with the Business, solely as
 necessary or useful for Buyer to provide notice and redirection to users through such application
 in a manner controlled by Buyer at and following Closing, together with (i) all administrator
 usernames, passwords and credentials used to access, use, manage, maintain or renew such
 consoles, certificates, profiles, identifiers, files or keys, and (ii) all site maps, templates, style
 guides, design materials and content (including any text, fonts, colors, cascading style sheets
 (CSS), layouts, video, images and graphics) with respect thereto or made available thereon.

         “Order” means any order, injunction, order, judgment, decree, ruling, writ, assessment or
 arbitration award of a Governmental Authority, including any order entered by the Bankruptcy
 Court in the Bankruptcy Cases (including the Sale Order).

        “Ordinary Course” means the ordinary and usual course of operations of the Business taken
 as a whole consistent with past practice and taking into account the contemplation, commencement
 and pendency of the Bankruptcy Cases.

        “Outside Date” shall have the meaning set forth in Section 10.1(c).

        “Party” or “Parties” means, individually or collectively, Buyer and Sellers.

        “Paying Party” shall have the meaning set forth in Section 11.3.

        “Periodic Taxes” shall have the meaning set forth in Section 11.2.

         “Permits” means licenses, permits, approvals, certificates, authorizations, testing
 certifications, testing reports, compliance results, operating permits, registrations, Orders,
 variances, plans, exemptions and other similar documents and authorizations, required under any



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 applicable Laws for the operation of the Business, and issued by or obtained from any
 Governmental Authority.

        “Permitted Encumbrances” means (i) non-monetary encumbrances or non-monetary
 impediments against any of the Acquired Assets which do not, individually or in the aggregate,
 adversely affect the operation of the Acquired Assets, (ii) licenses (other than licenses of
 Trademarks) granted on a non-exclusive basis, (iii) any Encumbrances set forth on Section 1.1(a)
 of the Disclosure Schedules, and (iv) solely prior to Closing, any Encumbrances that will be
 removed or released by operation of the Sale Order.

        “Person” means an individual, corporation, partnership, limited liability company, joint
 venture, association, trust, unincorporated organization, labor union, organization, estate,
 Governmental Authority or other entity or group.

         “Personal Information” means, in addition to any information protected under Sellers’
 published privacy policies or applicable Laws concerning privacy or data security as “personal
 information,” “personally identifiable information,” “PII” or similar, any information that
 identifies or could reasonably be used to identify an individual, including an individual’s name,
 address, telephone number, fax number, email address, social security number or other identifier
 issued by a Governmental Authority (including any state identification number, driver’s license
 number, or passport number), geolocation information of an individual or device, biometric data,
 medical or health information, credit card or other financial information (including bank account
 information), cookie identifiers, or any other browser- or device-specific number or identifier, or
 any web or mobile browsing or usage information that is linked to the foregoing.

        “Post-Closing Tax Period” means any Tax period beginning after the Closing Date and, in
 the case of any Straddle Period, the portion of such Straddle Period beginning after the Closing
 Date.

         “Pre-Closing Tax Period” means any Tax period ending on or before the Closing Date and,
 in the case of any Straddle Period, the portion of such Straddle Period ending on the Closing Date.

         “Proceeding” means any Claim, action, complaint, suit, litigation, arbitration, appeal,
 petition, inquiry, hearing, Order, decree, legal proceeding, investigation, or other legal dispute,
 whether civil, criminal, administrative or otherwise, at law or in equity, by or before any
 Governmental Authority.

        “Projections” shall have the meaning set forth in Section 8.15(b).

        “Proposed Allocation” shall have the meaning set forth in Section 3.6(a).

        “Purchase Price” shall have the meaning set forth in Section 3.1.

        “Registered Business IP” shall have the meaning set forth in Section 5.8(a).

        “Reimbursing Party” shall have the meaning set forth in Section 11.3.




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        “Representative” means, with respect to a particular Person, any director, officer,
 employee, agent, consultant, advisor, or other representative of such Person, including legal
 counsel, accountants, and financial advisors.

         “Sale Order” means an Order of the Bankruptcy Court approving this Agreement and the
 transactions contemplated hereby, which Order shall be in the form attached hereto as Exhibit A,
 with such changes as may be consented to by Buyer (which consent shall not be unreasonably
 withheld, conditioned or delayed) or as the Parties may mutually agree.

         “Seller” or “Sellers” shall have the meaning set forth in the Preamble.

         “Seller Parties” means each Seller and its former, current, or future Affiliates, officers,
 directors, employees, partners, members, equityholders, controlling or controlled Persons,
 managers, agents, Advisors, successors or permitted assigns.

         “Social Media Accounts” means the social media profiles, accounts, addresses and handles
 (including those made available through Facebook, Twitter, YouTube, Pinterest, Instagram,
 Snapchat, TikTok, Foursquare, Tumblr, Spotify and similar platforms).

         “Software” means all software, software platforms, computer programs, operating systems,
 applications, firmware, and other code, including all related source code, object code, application
 programming interfaces, data files, databases, protocols, specifications, and all documentation
 relating to any of the foregoing.

         “Straddle Period” means any Tax period that includes, but does not end on, the Closing
 Date.

         “Subsidiary” means, with respect to any Person, any corporation, limited liability company
 or other entity of which a majority of the total voting power of shares of stock or other equity
 interests entitled (without regard to the occurrence of any contingency) to vote in the election of
 directors, managers or trustees or other governing body or Person thereof is at the time owned or
 controlled, directly or indirectly, by such Person or one or more of the other Subsidiaries of such
 Person or a combination thereof or any partnership, association or other business entity of which
 a majority of the partnership or other similar ownership interest is at the time owned or controlled,
 directly or indirectly, by such Person or one or more Subsidiaries of such Person or a combination
 thereof.

         “Successful Bidder” shall have the meaning set forth in Section 7.1(c).

         “Tax” or “Taxes” means any federal, state, provincial, local, municipal, foreign or other
 taxes, duties, levies, governmental charges or assessments in the nature of a tax, including all
 income, alternative, minimum, add-on minimum, accumulated earnings, personal holding
 company, franchise, capital stock, net worth, capital gains, profits, intangibles, windfall profits,
 gross receipts, value added, sales, use, goods and services, excise, customs duties, escheat, transfer,
 conveyance, mortgage, registration, stamp, documentary, recording, premium, severance,
 production, environmental, natural resources, real property, personal property, ad valorem,
 intangibles, rent, occupancy, license, occupational, employment, unemployment, social security
 (or similar), disability, workers’ compensation, payroll, health care, withholding, estimated or


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 other taxes, duties, levies or other governmental charges or assessments in the nature of a tax or
 deficiencies thereof (including all interest and penalties thereon and additions thereto).

        “Tax Consideration” shall have the meaning set forth in Section 3.6(a).

         “Tax Proceeding” means any audit, examination, contest, litigation or other Proceeding by
 or against any taxing authority or otherwise with respect to or relating to Taxes.

         “Tax Return” means any return, claim for refund, declaration, election, notice, report,
 statement or information return or other similar document relating to Taxes filed or required to be
 filed with a Governmental Authority, including any schedule or attachment thereto, and including
 any amendments thereof.

        “Trademarks” shall have the meaning set forth in the definition of Intellectual Property.

        “Transaction Documents” means this Agreement, the Assignment and Assumption
 Agreement, the intellectual property assignment agreement contemplated by Section 4.3(a), the
 Escrow Agreement and any other agreements, instruments or documents entered into pursuant to
 this Agreement.

        “Transfer Taxes” shall have the meaning set forth in Section 11.1.

        “Transferred Contracts” shall have the meaning set forth in Section 2.1(e).

         “Willful Breach” shall mean (a) Fraud or (b) a deliberate act or a deliberate failure to act,
 in each case, in breach of a covenant set forth in this Agreement, regardless of whether breaching
 was the conscious object of the act or failure to act.

        Section 1.2      Other Definitions and Interpretive Matters.

                   (a)   Unless otherwise indicated to the contrary in this Agreement by the context
 or use thereof:

                         (i)    When calculating the period of time before which, within which or
        following which any act is to be done or step taken pursuant to this Agreement, the date
        that is the reference date in calculating such period shall be excluded. If the last day of such
        period is a day other than a Business Day, the period in question shall end on the next
        succeeding Business Day.

                         (ii)   Any reference in this Agreement to $ means U.S. dollars.

                       (iii)  Unless the context otherwise requires, all capitalized terms used in
        the Exhibits and Disclosure Schedules shall have the respective meanings assigned in this
        Agreement. No reference to or disclosure of any item or other matter in the Exhibits and
        Disclosure Schedules shall be construed as an admission or indication that such item or
        other matter is material or that such item or other matter is required to be referred to or
        disclosed in the Exhibits and Disclosure Schedules. No disclosure in the Exhibits and
        Disclosure Schedules relating to any possible breach or violation of any Contract or Law


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      shall be construed as an admission or indication that any such breach or violation exists or
      has actually occurred. Any information, item or other disclosure set forth in any Schedule
      shall be deemed to have been set forth in all other applicable Disclosure Schedules if the
      relevance of such disclosure to such other Schedule is reasonably apparent from the facts
      specified in such disclosure. All Exhibits and Disclosure Schedules attached or annexed
      hereto or referred to herein are hereby incorporated in and made a part of this Agreement
      as if set forth in full herein.

                    (iv)    Any reference in this Agreement to gender includes all genders, and
      words importing the singular number also include the plural and vice versa.

                      (v)    The provision of a table of contents, the division of this Agreement
      into Articles, Sections and other subdivisions and the insertion of headings are for
      convenience of reference only and shall not affect or be utilized in the construction or
      interpretation of this Agreement. All references in this Agreement to any “Section,”
      “Article,” “Schedule,” or “Exhibit” are to the corresponding Section, Article, Schedule, or
      Exhibit of or to this Agreement unless otherwise specified.

                     (vi)    Words such as “herein,” “hereof” and “hereunder” refer to this
      Agreement as whole and not merely to a subdivision in which such words appear, unless
      the context otherwise requires.

                      (vii) The word “extent” and the phrase “to the extent” when used in this
      Agreement shall mean the degree to which a subject or other thing extends, and such word
      or phrase shall not merely mean “if.”

                      (viii) The word “including” or any variation thereof means “including,
      without limitation,” and shall not be construed to limit any general statement that it follows
      to the specific or similar items or matters immediately following it.

                     (ix)   The word “will” will be construed to have the same meaning and
      effect as the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and
      “may” is permissive.

                     (x)     All references to a day or days will be deemed to refer to a calendar
      day or calendar days, as applicable, unless otherwise specifically provided.

                    (xi)    Any document or item will be deemed “conveyed”, “delivered,”
      “provided” or “made available” by Sellers, within the meaning of this Agreement if such
      document or item is (A) included in the Dataroom or (B) actually delivered or provided to
      Buyer or any of Buyer’s Advisors.

                   (xii) Any reference to any agreement or Contract will be a reference to
      such agreement or Contract, as amended, modified, supplemented or waived.

                     (xiii) Any reference to any particular Bankruptcy Code or Tax Code
      section or any Law will be interpreted to include any amendment to, revision of or
      successor to that section or Law regardless of how it is numbered or classified; provided


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        that, for the purposes of the representations and warranties set forth herein, with respect to
        any violation of or non-compliance with, or alleged violation of or non-compliance, with
        any Bankruptcy Code or Tax Code section or Law, the reference to such Bankruptcy Code
        or Tax Code section or Law means such Bankruptcy Code or Tax Code section or Law as
        in effect at the time of such violation or non-compliance or alleged violation or non-
        compliance.

                       (xiv) A reference to a Person in a particular capacity excludes such Person
        in any other capacity or individually.

                         (xv) Any reference to (x) any representations or warranties of a Seller
        that is not party to this Agreement shall be interpreted as a representation or warranty of
        BBBY on behalf of such Seller and (y) any covenant or obligation of a Seller that is not
        party to this Agreement shall be interpreted as a covenant and obligation of BBBY to cause
        such Seller to act in accordance therewith and (z) any notice to, or consent from, any Seller
        that is not a party to this Agreement shall, with respect to matters related to this Agreement,
        be interpreted as a notice to, or consent from, BBBY.

                 (b)     No Strict Construction. Buyer, on the one hand, and Sellers, on the other
 hand, participated jointly in the negotiation and drafting of this Agreement, and, in the event an
 ambiguity or question of intent or interpretation arises, this Agreement shall be construed as jointly
 drafted by Buyer, on the one hand, and Sellers, on the other hand, and no presumption or burden
 of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any provision
 of this Agreement. Without limitation as to the foregoing, no rule of strict construction construing
 ambiguities against the draftsperson shall be applied against any Person with respect to this
 Agreement.

                                            ARTICLE II

                                     PURCHASE AND SALE

         Section 2.1     Purchase and Sale of the Acquired Assets. Pursuant to sections 105, 363,
 and 365 of the Bankruptcy Code, on the terms and subject to the conditions set forth herein and in
 the Sale Order, at the Closing, Sellers shall sell, transfer, assign and convey to Buyer, or cause to
 be sold, transferred, assigned and conveyed to Buyer (or its designee), and Buyer (or its designee)
 shall purchase, acquire and accept from Sellers all of Sellers’ right, title and interest as of the
 Closing in, to or under the following assets (collectively, the “Acquired Assets”) free and clear of
 any and all Encumbrances of any and every kind, nature and description, other than Permitted
 Encumbrances:

                  (a)     all Business IP, and any goodwill associated therewith, together with all
 rights to collect royalties and other proceeds and payments in connection with any of the foregoing,
 and all rights to sue and recover for any past, present or future infringement, dilution,
 misappropriation or other violation of any such Business IP;

                (b)     the Business Internet Properties;

                (c)     the Mobile Platform;


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                 (d)     all Business Data;

                (e)    all Contracts listed on Section 2.1(e) of the Disclosure Schedules or
 designated as Transferred Contracts pursuant to Section 2.7 (the “Transferred Contracts”);

                 (f)     all rights of publicity, personality rights and similar rights primarily relating
 to, used in (or held for use in) or arising out of, the sale or marketing of any products or services
 of the Business;

               (g)    all advertising and marketing materials, samples, artwork, photography,
 images, videos, copy, catalogues, labels, brand books, style guides, retailer presentations,
 drawings, recordings and similar material, and any other material showing the heritage of any
 Trademarks, in each case primarily relating to, used in (or held for use in) or arising out of the
 Business;

                (h)    all transferrable rights (but not any obligations) of Sellers under non-
 disclosure or confidentiality, non-compete, or non-solicitation Contracts relating to any other
 Acquired Asset referenced in this Section 2.1;

               (i)     any other assets, properties, and rights listed on Section 2.1(i) of the
 Disclosure Schedules.

         Section 2.2     Excluded Assets. Notwithstanding anything herein to the contrary, Buyer
 shall acquire no right, title, or interest in, to or under the following assets, properties, rights,
 interests, or claims in any assets, properties, rights, interests or claims of any kind or description
 of any Seller that are not Acquired Assets (collectively, the “Excluded Assets”), including:

                 (a)     the Excluded Trademarks;

                 (b)     the Internet Properties listed on Section 2.2(b) of the Disclosure Schedules;

                 (c)     the Excluded Software; and

               (d)     the Contracts listed on Section 2.2(d) of the Disclosure Schedules or
 otherwise designated as Excluded Listed Contracts pursuant to Section 2.7 (the “Excluded Listed
 Contracts”).

         Section 2.3    Shared Assets. To the extent that any elements of the Business Data or the
 Business IP (excluding Trademarks (other than trade dress)) embodied in the content or website
 (including the design, style, look, and feel of such content and website) made available on or
 through the Business Internet Properties are used in or arise out of the Business and also are used
 in or arise out of the Excluded Business (such Business Data and Business IP (excluding
 Trademarks (other than trade dress)), “Shared IP”), (a) Sellers and Buyer shall each be a joint
 owner of the Shared IP, (b) without limiting any obligation to deliver, transfer and convey copies
 of Shared IP, only an undivided joint ownership interest in or to the Shared IP shall be an Acquired
 Asset, and (c) each of Sellers and Buyer shall have the right to use and license the Shared IP
 without notice, consent or an accounting to the other Party (or its successors and assignees);
 provided that, for the avoidance of doubt Shared IP, with respect to clauses (ii) and (iii) of the


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 definition of Business Data, shall be limited to customer data and lists relating to customers that
 have purchased from, or otherwise submitted their names or other information in accordance with
 applicable privacy policies to, both the Business and Excluded Business.

        Section 2.4      Assumed Liabilities. Upon the terms and subject to the conditions of this
 Agreement, at the Closing, Buyer shall assume and agree to perform and discharge, when due (in
 accordance with their respective terms and subject to the respective conditions thereof), the
 following Liabilities (collectively, the “Assumed Liabilities”):

               (a)     all Liabilities and obligations of any Seller under the Transferred Contracts
 that become due from and after, solely to the extent relating to facts, occurrences or other
 circumstances first arising after, the Closing (or, if assigned to Buyer after the Closing, the
 assignment date related to such Transferred Contracts);

               (b)     all Liabilities arising from the ownership of the Acquired Assets and the use
 thereof by Buyer solely to the extent arising after the Closing; and

               (c)     all Cure Costs (but not any Excess Cure Costs) related to the assignment
 and assumption of the Transferred Contracts.

 For the avoidance of doubt, Excluded Taxes shall not constitute Assumed Liabilities.

        Section 2.5     Excluded Liabilities. Notwithstanding any provision in this Agreement to
 the contrary, Buyer shall not assume and shall not be obligated to assume or be obliged to pay,
 perform, or otherwise discharge, and Sellers shall be solely and exclusively liable with respect to,
 any Liability of any Seller that is not an Assumed Liability (including, for the avoidance of doubt,
 all Excess Cure Costs) (such Liabilities, collectively, the “Excluded Liabilities”).

        Section 2.6     Withholding. Notwithstanding anything in this Agreement to the contrary,
 Buyer shall be entitled to deduct and withhold from any amounts otherwise payable pursuant to
 this Agreement such amounts as are required to be deducted and withheld with respect to the
 making of such payment under the Code or any other Tax Law. Prior to such deduction or
 withholding (except any deduction or withholding required as a result of a failure to provide the
 documentation pursuant to Section 4.3(f)), Buyer shall use commercially reasonable efforts to
 provide Sellers written notice of such deduction or withholding and a reasonable opportunity to
 provide forms or other evidence that would reduce or exempt such deduction or withholding under
 applicable Law. To the extent that amounts are so deducted and withheld and paid to the
 appropriate Governmental Authority, such amounts shall be treated for all purposes of this
 Agreement as having been paid to the Person in respect of which such deduction and withholding
 was made.

        Section 2.7     Assignment of Contracts. The Sale Order shall, to the extent permitted by
 Law, provide for the assignment by Sellers to Buyer, effective upon the Closing, of the Transferred
 Contracts in accordance with this Section 2.7.

                (a)    Sellers shall use reasonable best efforts to provide timely and proper written
 notice of the motion seeking entry of the Sale Order to all parties to any executory Contracts to
 which any Seller is a party that are Transferred Contracts and take all other actions reasonably


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 necessary to cause such Contracts to be assigned to Buyer pursuant to section 365 of the
 Bankruptcy Code. At the Closing, Sellers shall assign to Buyer the Transferred Contracts that may
 be assigned by any such Seller to Buyer pursuant to sections 363 and 365 of the Bankruptcy Code.
 From and after the Effective Date until the earlier of (y) the date that is 45 days following the
 Closing and (z) the date on which the Bankruptcy Court enters an Order confirming Sellers’ plan
 of reorganization or liquidation (this clause (z) the “Plan Confirmation Date”), Buyer may, in
 consultation with Sellers, propose to designate any Contract then in effect that Sellers have not
 otherwise disposed of, or agreed to dispose of, that is necessary to administer, control and exercise
 legal rights with respect to the use of all other Acquired Assets, in each case, in the same manner
 in all material respects as by and on behalf of Sellers (as applicable) in connection with the
 Business during the twelve months prior to the date hereof (and is not an Excluded Listed Contract
 as of the Effective Date), as a Transferred Contract, as applicable, or designate any such Contract
 that would otherwise be a Transferred Contract as an Excluded Listed Contract, in each case by
 providing written notice of such designation or removal to Sellers and, in the case of designating
 an additional Transferred Contract, Sellers will use reasonable best efforts to cause such Contract
 to be assumed and assigned to Buyer in accordance with the Bankruptcy Code. Notwithstanding
 the foregoing, (i) Sellers may not designate any such Contract as a Transferred Contract after
 Closing if Sellers have rejected, agreed to dispose, or disposed, of such Contract or require such
 Contract in order to provide services to any other business line of Sellers or to wind down the
 operations of Sellers and (ii) Sellers shall provide not less than five Business Days’ notice to Buyer
 prior to filing any motion to reject, agreeing to dispose or disposing any Contract that is necessary
 to administer, control and exercise legal rights with respect to the use of all other Acquired Assets,
 in each case, in the same manner in all material respects as by and on behalf of Sellers (as
 applicable) in connection with the Business during the twelve months prior to the date hereof (other
 than any Excluded Listed Contract).

                 (b)     In the case of any removal or addition of a Transferred Contract pursuant to
 Section 2.7(a), Sellers shall give notice to the other parties to any Contract to which such removal
 or addition relates within three Business Days of Buyer notifying Sellers of such removal or
 addition.

                (c)     In connection with and upon the assignment to Buyer of any Transferred
 Contract pursuant to this Section 2.7, Buyer and Sellers shall pay all of the Cure Costs consistent
 with the allocation of Assumed Liabilities and Excluded Liabilities set forth in Section 2.4(c) and
 Section 2.5.

                 (d)    If Sellers are unable to assign any Transferred Contract to Buyer as a result
 of an Order of the Bankruptcy Court or applicable Law, then Buyer and Sellers shall use reasonable
 best efforts prior to the Closing to obtain, and to cooperate in obtaining, all Consents and
 Governmental Authorizations from Governmental Authorities and third parties necessary to assign
 such Transferred Contract to Buyer; provided, however, neither Buyer nor Sellers shall be required
 to pay any amount or incur any obligation to any Person from whom any such Consent or
 Governmental Authorization may be required in order to obtain such Consent.

               (e)   Notwithstanding any provision herein to the contrary, a Contract shall not
 be a Transferred Contract hereunder and shall not be assigned by the applicable Sellers and
 assumed by Buyer to the extent that such Contract requires a Consent or Governmental


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 Authorization (other than, and in addition to, that of the Bankruptcy Court) in order to permit the
 sale or transfer to Buyer of Sellers’ rights under such Contract, if such Consent or Governmental
 Authorization has not been obtained prior to the Closing. In such event, the Closing will proceed
 with respect to the remaining Acquired Assets upon the terms and subject to the conditions hereof,
 and there will be no reduction in the Purchase Price as a result thereof, and, for a period of six
 months after the Closing Date (or the remaining term of any such Contract if shorter or the closing
 of the Bankruptcy Cases, if earlier), (i) Sellers and Buyer will use their respective reasonable best
 efforts to obtain the Consents with respect to any such Contract and (ii) Sellers and Buyer will
 cooperate in a mutually agreeable arrangement, to the extent feasible and without the need for any
 Consent, under which Buyer would obtain the benefits and assume the obligations associated with
 such Contracts in accordance with this Agreement, including subcontracting, sub-licensing, or sub-
 leasing to Buyer, or under which Sellers would enforce their rights thereunder for the benefit of
 Buyer with Buyer assuming each applicable Sellers’ obligations thereunder; provided, however,
 neither Buyer nor Sellers shall be required to pay any amount, grant any accommodation therefor
 or incur any obligation to any Person from whom any such Consent or Governmental
 Authorization may be required in order to obtain such Consent; provided further that neither Buyer
 nor any of Sellers will be obligated to initiate any Proceedings to obtain any such Consent or
 Governmental Authorization. For the avoidance of doubt, the consummation of the transactions
 contemplated by this Agreement shall in no way be contingent or conditioned on obtaining any
 such Consents for the assignment of the Transferred Contracts.

                                            ARTICLE III

                                        PURCHASE PRICE

         Section 3.1     Purchase Price. The purchase price (the “Purchase Price”) for the purchase,
 sale, assignment and conveyance of Sellers’ right, title and interest in, to and under the Acquired
 Assets shall consist of:

             (a)   cash in the amount of the Cash Consideration (subject, in the case of the
 GoB Escrow Amount and the IP Escrow Amount to the terms and conditions with respect thereto);
 and

                (b)     the assumption of the Assumed Liabilities.

        Section 3.2     Deposit.

                 (a)     Buyer has delivered, or will deliver within one Business Day of the
 Effective Date, to the Deposit Escrow Agent the Deposit in immediately available funds pursuant
 to the Bidding Procedures Order, by wire transfer of immediately available funds for deposit into
 a separate, segregated, non-interest bearing escrow account maintained by the Deposit Escrow
 Agent in accordance with the Bidding Procedures Order. The Deposit shall not be subject to any
 lien, attachment, trustee process, or any other judicial process of any creditor of any Seller or Buyer
 and shall be applied against payment of the Purchase Price on the Closing Date or otherwise
 distributed or returned according to the terms of this Section 3.2.




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                (b)    If this Agreement has been terminated by Sellers pursuant to
 Section 10.1(d) or Section 10.1(f), then Sellers shall retain the Deposit.

                (c)    If this Agreement has been terminated by any Party, other than as
 contemplated by Section 3.2(b), then the Deposit shall be returned to Buyer within three Business
 Days after such termination.

                (d)      The Parties agree that Sellers’ right to retain the Deposit, as set forth in
 Section 3.2(b), is not a penalty, but rather is liquidated damages in a reasonable amount that will
 compensate Sellers for their efforts and resources expended and the opportunities foregone while
 negotiating this Agreement and in reliance on this Agreement and on the expectation of the
 consummation of the transactions contemplated hereby, which amount would otherwise be
 impossible to calculate with precision.

         Section 3.3      Closing Date Payments. At the Closing, (a) Buyer shall pay to Sellers cash
 by wire transfer of immediately available funds in an amount equal to (i) the Cash Consideration
 minus (ii) the Deposit minus (iii) the GoB Escrow Amount minus (iv) the IP Escrow Amount and
 (b) Sellers shall direct the Deposit Escrow Agent to indefeasibly transfer the Deposit to an account
 designated by Sellers.

         Section 3.4     Discharge of Assumed Liabilities After Closing. Following the Closing,
 Buyer shall pay, perform or satisfy the Assumed Liabilities from time to time and as such Assumed
 Liabilities become due and payable or are required to be performed or satisfied in accordance with
 their respective terms.

        Section 3.5     Release of Escrow Amounts.

                 (a)      GoB Holdback Release. In the event that Sellers deliver to Buyer, prior to
 the earlier of September 1, 2023 and the Plan Confirmation Date, a certificate, duly executed by
 Sellers’ chief restructuring officer, in their capacity as such and not in a personal capacity,
 certifying that (i) the Business web sites have removed any references to “liquidation sales,”
 “going out of business,” “store closings” or similar messaging, (ii) that Sellers have ceased sending
 emails to customers of the Business, and (iii) that liquidations of inventory and going out of
 business sales at the brick and mortar stores of the Business have terminated (the “GoB
 Certificate”), then, within three Business Days of Buyer’s receipt of the GoB Certificate, Buyer
 and BBBY shall deliver Joint Instructions to the Escrow Agent instructing the Escrow Agent to
 release, within three Business Days following such instruction, (A) the GoB Payout Amount to
 Sellers and (B) to the extent the GoB Escrow Amount is greater than the GoB Payout Amount,
 such excess amount to Buyer. In the event that Buyer has not received the GoB Certificate prior
 to September 1, 2023 then, within three Business Days of September 1, 2023 Buyer and BBBY
 shall deliver Joint Instructions to the Escrow Agent instructing the Escrow Agent to release, within
 three Business Days following such instruction, the GoB Escrow Amount to Buyer.

                 (b)    IP Release. In the event that Sellers satisfy the IP Condition, then, within
 three Business Days of Sellers’ satisfaction of the IP Condition, Buyer and BBBY shall deliver
 Joint Instructions to the Escrow Agent instructing the Escrow Agent to release, within three
 Business Days following such instruction, the IP Escrow Amount to Sellers. In the event that the



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 IP Condition has not been satisfied prior to September 30, 2023 then, within three Business Days
 following September 30, 2023, Buyer and BBBY shall deliver Joint Instructions to the Escrow
 Agent instructing the Escrow Agent to release, within three Business Days following such
 instruction, the IP Escrow Amount to Buyer.

                 (c)     Notwithstanding anything to the contrary contained herein or in the Escrow
 Agreement, any amounts to be released from the Escrow Account pursuant to this Agreement or
 the Escrow Agreement shall be released upon (and only upon) the receipt by the Escrow Agent of
 Joint Instructions or a Final Determination. As used herein, (i) “Joint Instructions” means joint
 written instruction to the Escrow Agent, signed by Buyer and BBBY, directing the Escrow Agent
 to disburse all or a portion of the funds in the applicable Escrow Account, and (ii) “Final
 Determination” means a final judgment, decree or order (for which purpose, a judgment, decree
 or order of a court will be deemed final when the time for appeal, if any, will have expired and no
 appeal will have been taken or when all appeals taken will have been finally determined) together
 with the written payment instructions of the prevailing party to effectuate such order, in each case
 provided to the Escrow Agent (with a copy provided to the other party).

        Section 3.6     Allocation of Purchase Price.

                 (a)    For U.S. federal (and where applicable, state and local) income Tax
 purposes, the parties agree to allocate the Purchase Price, the Assumed Liabilities, and any other
 amounts treated as consideration to any Seller in respect of the Acquired Assets pursuant to this
 Agreement for U.S. federal (and where applicable, state and local) income Tax purposes
 (collectively, the “Tax Consideration”) among the Acquired Assets in accordance with Section
 1060 of the Code, pursuant to the following procedures. No later than 90 days following the
 Closing Date, Buyer shall provide Sellers with a proposed allocation of the Tax Consideration
 among the Acquired Assets (the “Proposed Allocation”). Sellers may object to the Proposed
 Allocation by delivering to Buyer, within 30 days of receipt by Sellers of the Proposed Allocation,
 notice of objection to the Proposed Allocation (an “Allocation Objection Notice”), which shall
 specify in reasonable detail the basis for such objection. If Sellers fail to deliver an Allocation
 Objection Notice to Buyer prior to the expiration of such 30-day period, the Proposed Allocation
 shall become final, binding and conclusive upon Sellers and Buyer (the “Allocation”). If Sellers
 timely deliver an Allocation Objection Notice, then Buyer and Sellers shall negotiate in good faith
 to resolve the disputed items. If Buyer and Sellers are able to reach agreement on the disputed
 items within 30 days after the Allocation Objection Notice has been received by Buyer, the
 Proposed Allocation, as modified to reflect such agreement between Buyer and Sellers, shall be
 the Allocation. If Buyer and Sellers are unable to reach such an agreement within 30 days after the
 Allocation Objection Notice has been received by Buyer, all unresolved disputed items shall be
 promptly referred to a mutually agreed, nationally recognized accounting firm (the “Independent
 Arbiter”). The Independent Arbiter shall be directed to render a written report on the unresolved
 disputed items with respect to the allocation of the Tax Consideration as promptly as practicable,
 but in no event more than 30 days after such submission to the Independent Arbiter, and to resolve
 only those unresolved disputed items set forth in the Allocation Objection Notice. For the
 avoidance of doubt, the Independent Arbiter’s resolution of the disputed items shall be within the
 ranges proposed by Buyer and Sellers that are in dispute. If unresolved disputed items are
 submitted to the Independent Arbiter, Buyer and Sellers shall each furnish to the Independent
 Arbiter such work papers, schedules and other documents and information relating to the


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 unresolved disputed items as the Independent Arbiter may reasonably request. The resolution of
 the disputed items by the Independent Arbiter shall be final, binding and conclusive upon Buyer
 and Sellers. The Proposed Allocation, as modified to reflect (x) any agreement as to any disputed
 items between Buyer and Sellers and (y) the resolution of the remaining disputed items by the
 Independent Arbiter, shall be the Allocation. All fees and expenses of the Independent Arbiter
 shall be allocated to Buyer and Sellers in the same proportion that the aggregate amount of the
 items unsuccessfully disputed or defended, as the case may be, by each of Buyer and Sellers (as
 determined by the Independent Arbiter) bears to the total amount of the disputed items.

                 (b)     Except to the extent otherwise required pursuant to a “determination” within
 the meaning of Section 1313(a) of the Code (or any similar provision of state, local or foreign
 law), each of the parties (x) shall, and shall cause its Affiliates to, file all Tax Returns in a manner
 consistent with the Allocation and (y) shall not take, and shall cause its Affiliates not to take, any
 position inconsistent with the Allocation on any Tax Return, in connection with any Tax
 Proceeding or otherwise.

                                             ARTICLE IV

                                              CLOSING

          Section 4.1    Closing Date. The closing of the purchase and sale of the Acquired Assets,
 the delivery of the Purchase Price, the assumption of the Assumed Liabilities and the
 consummation of the other transactions contemplated by this Agreement (the “Closing”) will take
 place by telephone conference and electronic exchange of documents (or, if the Parties agree to
 hold a physical closing, at the offices of Kirkland & Ellis LLP, located at 601 Lexington Avenue,
 New York, New York 10022) at 10:00 a.m. Eastern Time on the second Business Day following
 full satisfaction or due waiver (by the Party entitled to the benefit of such condition) of the closing
 conditions set forth in Article IX (other than conditions that by their terms or nature are to be
 satisfied at the Closing, but subject to the satisfaction or waiver of those conditions at the Closing),
 or at such other place and time as the Parties may agree in writing. The date on which the Closing
 actually occurs is referred to herein as the “Closing Date.”

          Section 4.2   Buyer’s Deliveries. At the Closing, Buyer shall:

               (a)    deliver to Sellers the Cash Consideration minus the GoB Escrow Amount
 minus the IP Escrow Amount minus the Deposit in accordance with Section 3.3(a);

                (b)    deposit to the Escrow Agent cash in an amount equal to the GoB Escrow
 Amount plus the IP Escrow Amount, which amounts shall be held by the Escrow Agent pursuant
 to the terms and conditions of this Agreement and the Escrow Agreement;

                 (c)    deliver to Sellers a counterpart to the Escrow Agreement duly executed by
 Buyer;

                (d)     deliver to Sellers the certificate of Buyer to be received by Sellers pursuant
 to Section 9.3(c); and




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               (e)   deliver to Sellers a counterpart to the bill of sale and assignment and
 assumption agreement substantially in the form of Exhibit B (the “Assignment and Assumption
 Agreement”) duly executed by Buyer.

        Section 4.3     Sellers’ Deliveries. At the Closing, Sellers shall deliver to Buyer:

                (a)    an intellectual property assignment agreement substantially in the form of
 Exhibit C, duly executed by the applicable Sellers;

                (b)    a counterpart to the Assignment and Assumption Agreement, duly executed
 by each applicable Seller;

                 (c)    a counterpart to the Escrow Agreement, duly executed by BBBY and the
 Escrow Agent;

                 (d)    a copy of the Sale Order entered by the Bankruptcy Court;

                 (e)    the certificate of Sellers to be received by Buyer pursuant to Section 9.2(c);
 and

                (f)      an IRS Form W-9 or IRS Form W-8, as applicable, duly executed by each
 Seller or each Seller’s regarded owner for U.S. federal income Tax purposes.

                                            ARTICLE V

                  REPRESENTATIONS AND WARRANTIES OF SELLERS

        Except as set forth in the Disclosure Schedules delivered by Sellers concurrently herewith
 and subject to Section 12.10, Sellers jointly and severally represent and warrant to Buyer as
 follows.

         Section 5.1     Organization and Qualification. Each Seller is duly formed, validly existing
 and in good standing under the laws of the state of its incorporation or formation and has all
 requisite power and authority necessary to carry on its business as it is now being conducted,
 except (other than with respect to such Seller’s due formation and valid existence) as would not,
 individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

         Section 5.2      Authorization of Agreement. The execution, delivery and performance by
 each Seller of this Agreement and the other Transaction Documents to which such Seller is a party,
 and the consummation by such Seller of the transactions contemplated hereby and thereby, subject
 to requisite Bankruptcy Court approvals, have been duly authorized by all requisite corporate
 action, limited liability company action or limited partnership action on the part of such Seller, as
 applicable, and no other organizational proceedings on such Seller’s part are necessary to authorize
 the execution, delivery and performance by such Seller of this Agreement or the other Transaction
 Documents and the consummation by it of the transactions contemplated hereby and
 thereby. Subject to requisite Bankruptcy Court approvals, this Agreement and the other
 Transaction Documents to which each Seller is a party have been, or will be, duly executed and
 delivered by such Seller and, assuming due authorization, execution and delivery hereof and


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 thereof by the other parties hereto and thereto, constitutes, or will constitute, legal, valid and
 binding obligations of such Seller, enforceable against such Seller in accordance with its and their
 terms, except that such enforceability (a) may be limited by bankruptcy, insolvency, fraudulent
 transfer, reorganization, moratorium and other similar Laws of general application affecting or
 relating to the enforcement of creditors’ rights generally and (b) is subject to general principles of
 equity, whether considered in a proceeding at law or in equity (collectively, the “Enforceability
 Exceptions”).

          Section 5.3    Conflicts; Consents. Assuming that (a) requisite Bankruptcy Court
 approvals are obtained, and (b) the notices, authorizations, approvals, Orders, Permits or consents
 set forth on Section 5.3 of the Disclosure Schedules are made, given or obtained (as applicable),
 neither the execution and delivery by Sellers of this Agreement or the other Transaction
 Documents, nor the consummation by Sellers of the transactions contemplated hereby or thereby,
 nor performance or compliance by Sellers with any of the terms or provisions hereof or thereof,
 will (i) conflict with or violate any provision of a Seller’s certificate of incorporation or bylaws,
 certificate of formation or limited liability company agreement, certificate of limited partnership,
 partnership agreement or other governing documents, as applicable (ii) violate or constitute a
 breach of or default (with or without notice or lapse of time, or both) under or give rise to a right
 of termination, modification, or cancelation of any obligation or to the loss of any benefit, any of
 the terms or provisions of any Material Contract or accelerate any Seller’s obligations under any
 such Material Contract, or (iii) result in the creation of any Encumbrance (other than a Permitted
 Encumbrance) on any properties or assets of any Seller, except, in the case of clauses (ii) and (iii),
 as would not, individually or in the aggregate, reasonably be expected to have a Material Adverse
 Effect.

        Section 5.4     Title to Properties.

                 (a)    Subject to requisite Bankruptcy Court approvals, and assumption by the
 applicable Seller of the applicable Contract in accordance with applicable Law (including
 satisfaction of any applicable Cure Costs) and except as a result of the commencement of the
 Bankruptcy Case, Sellers hold good title to, the right to use, or a valid leasehold interest in, all of
 the Acquired Assets, free and clear of all Encumbrances, except for Permitted Encumbrances,
 other than any failure to own or hold such tangible property that is not material to the Business,
 taken as a whole.

        Section 5.5     Contracts.

                 (a)    Section 5.5 of the Disclosure Schedules sets forth a list of each Material
 Contract as of the Effective Date. For purposes of this Agreement, “Material Contract” means any
 Contract (x) by which any of the Acquired Assets are bound or affected or (y) to which a Seller is
 a party or by which it is bound that is related to, used in (or held for use in) or arise out of the
 operation of the Acquired Assets, including any Contract:

                       (i)    that is material to the Acquired Assets and relates to the Acquired
        Assets, on the one hand, and the Excluded Business, on the other hand;




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                        (ii)  involves the settlement or compromise of any Proceeding (whether
        pending or threatened) (or series of related Proceedings) which (A) involve payments in
        excess of $500,000 or (B) impose material restrictions on the use, enforcement or other
        exploitation of any Acquired Assets;

                        (iii)  that relates to the acquisition or disposition of any Acquired Asset
        that is reasonably expected to involve payments in excess of $100,000;

                         (iv)    pursuant to which any Seller (A) grants or receives any license,
        sublicense, covenant not to assert, or similar right in or with respect to any (1) Business IP
        or (2) rights to use or display content that is material to the Business and used or displayed
        in connection with the Internet-based retail portion of the Business (excluding licenses,
        sublicenses, covenants not to assert or similar rights granted to Sellers solely for the
        development, use or maintenance of Excluded Software or information technology
        infrastructure), or (B) otherwise agrees to limit the use, enforcement or other exploitation
        of any Business IP, in each case, other than ancillary or incidental licenses, sublicenses,
        covenants not to assert and similar rights that are not material to the development,
        maintenance, use or operation of any Acquired Assets; or

                       (v)     that (x), is set forth on Section 2.1(e) of the Disclosure Schedules
        and contains any provision that (A) limits in any material respect, or purports to limit in
        any material respect, the ability, upon the consummation of the transactions contemplated
        hereby, of Buyer or any of its Affiliates from competing with any Person or in any
        geographical area, engaging in any line of business or selling products or delivering
        services to any Person, making use of any Business IP or soliciting potential employees,
        officers, managers, directors or customers, (B) grants “most favored nation” status or
        contains “exclusivity” requirements or similar obligations binding, upon the consummation
        of the transactions contemplated hereby, on Buyer or any of its Affiliates, (C) includes
        “take or pay” requirements or provisions obligating a Person to obtain or provide a
        minimum quantity of goods or services to or from another Person, or (y) that contains any
        provision that grants to a third party any right of first refusal or first offer or similar right
        with respect to any of the Acquired Assets.

                 (b)      Subject to requisite Bankruptcy Court approvals, and assumption by the
 applicable Seller of the applicable Contract in accordance with applicable Law (including
 satisfaction of any applicable Cure Costs) and except (i) as a result of the commencement of the
 Bankruptcy Cases and (ii) with respect to any Contract that has previously expired in accordance
 with its terms, been terminated, restated, or replaced, (A) each Material Contract is valid and
 binding on the Seller that is a party thereto and, to the Knowledge of Sellers, each other party
 thereto, and is in full force and effect, subject to the Enforceability Exceptions, (B) the applicable
 Seller, and, to the Knowledge of Sellers, any other party thereto, have performed all obligations
 required to be performed by it under each Material Contract, (C) Sellers have received no written
 notice of the existence of any breach or default on the part of any Seller under any Material
 Contract, (D) there are no events or conditions which constitute, or, after notice or lapse of time or
 both, will constitute a default on the part of a Seller, or to the Knowledge of Sellers, any
 counterparty under such Material Contract and (E) to the Knowledge of Sellers, Sellers have not
 received any written notice from any Person that such Person intends to terminate, or not renew,


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 any Material Contract, except in each case of clauses (A) through (E), as would not, individually
 or in the aggregate, reasonably be expected to have a Material Adverse Effect.

         Section 5.6    No Litigation. There are no Proceedings pending or, to Sellers’ Knowledge,
 threatened against or affecting any Seller that will adversely affect any Seller’s performance of its
 obligations under this Agreement or the consummation of the transactions contemplated by this
 Agreement.

          Section 5.7    Permits; Compliance with Laws. Each Seller is, and has been since
 January 1, 2023, in compliance in all material respects with all state or federal laws, statutes,
 ordinances, codes, rules or regulations (“Laws”) or Orders, applicable to such Seller, and each
 Seller holds all licenses, franchises, permits, certificates, approvals and authorizations from
 Governmental Authorities necessary for the lawful conduct of its respective business (collectively,
 “Permits”), except where the failure to hold the same would not, individually or in the aggregate,
 reasonably be expected to have a Material Adverse Effect. Each Seller and each of their respective
 directors, officers and employees acting in such capacity and, to the Knowledge of Sellers, each
 of its and their other agents acting on its or their behalf, is, and has been since January 1, 2023, in
 compliance in all material respects with the Foreign Corrupt Practices Act of 1977 and any rules
 and regulations promulgated thereunder.

        Section 5.8     Intellectual Property.

                 (a)     Section 5.8(a) of the Disclosure Schedules sets forth a correct and complete
 list of all Business IP that is registered with, issued by, or the subject of a pending application
 before any Governmental Authority or Internet domain name registrar (“Registered Business IP”),
 specifying as to each, as applicable, the owner, application number, application date, patent
 number or registration number, and date of registration or issuance. Except as otherwise indicated
 on Section 5.8(a) of the Disclosure Schedules, (i) Sellers exclusively own all right, title and interest
 in and to the Registered Business IP, free and clear of all Encumbrances (other than Permitted
 Encumbrances), and (ii) all of the Registered Business IP is subsisting and, to the Knowledge of
 Sellers, valid and enforceable. The Registered Business IP identified on Section 5.8(a) of the
 Disclosure Schedules constitutes all Intellectual Property owned by or licensed exclusively to
 Sellers or any of their Affiliates (x) that is registered with, issued by, or the subject of a pending
 application before any Governmental Authority or Internet domain name registrar and (y) that is
 primarily related or material to the operation of the Business as conducted during the twelve
 months prior to the date hereof.

                (b)      Sellers have taken commercially reasonable steps and have implemented
 commercially reasonable safeguards, in a manner consistent with industry standards, to maintain
 the confidentiality of non-public Business IP and Business Data, and to the Knowledge of Sellers,
 no such non-public Business IP or Business Data (including any source code constituting part of
 the Business IP) have been disclosed to or accessed by any Person other than subject to written
 and binding obligations of confidentiality, which obligations, to the Knowledge of Sellers, have
 not been violated in any material respect. Sellers have taken commercially reasonable steps to
 actively monitor and enforce their rights in all material Trademarks constituting part of the
 Business IP against unauthorized use by third parties, and have exercised reasonable quality
 control measures with respect to any licensees of such Trademarks.


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                 (c)     No Proceedings are pending or, to the Knowledge of Sellers, threatened
 against any Seller, and since January 1, 2021, Sellers have not received any written notice or claim,
 (i) challenging the ownership, validity, enforceability or use by any Seller of any Registered
 Business IP or (ii) alleging that any Seller is infringing, misappropriating or otherwise violating
 the Intellectual Property of any Person. Since January 1, 2021, no Seller has made any written
 claim of any violation, misappropriation or infringement of any Business IP.

                (d)     To the Knowledge of Sellers, since January 1, 2021, no Person has
 infringed, misappropriated or otherwise violated the rights of Sellers with respect to any material
 Business IP and the use of the Acquired Assets in connection with the conduct of the Business
 (including the use of the Mobile Platform as intended to be used by customers) has not violated,
 misappropriated or infringed the Intellectual Property of any other Person.

                 (e)     The consummation of the transactions contemplated hereby will not result
 in the grant of any right or license to any third party of any material Business IP.

                 (f)    Sellers have taken commercially reasonable steps and have implemented
 commercially reasonable safeguards, in a manner consistent with industry standards, to protect the
 Business Data, Internet Properties and Mobile Platform from any unauthorized use, disclosure,
 modification or access, and to ensure that the Acquired Assets are free from any disabling codes
 or instructions, spyware, Trojan horses, worms, viruses or other Software routines that facilitate
 or cause unauthorized access to, or disruption, impairment, disablement, or destruction of,
 Software, data or other materials (“Malicious Code”).

               (g)    Since January 1, 2021, there has been no security breach or other
 unauthorized use, disclosure, modification or access to the Acquired Assets or any Personal
 Information or other sensitive customer information included in the Acquired Assets. To the
 Knowledge of Sellers, the Acquired Assets are free from any material Malicious Code.

                (h)    Other than the Mobile Platform, there are no mobile Software applications
 operated, developed or held for use by or on behalf of Sellers in connection with the Business.

               (i)    That certain First Amended and Restated Trademark License Agreement,
 dated January 1, 2019, by and between Liberty Procurement Co. Inc. and Bed Bath & Beyond
 Mexico S. de R.L. de C.V., (the “Mexico License”) has not been renewed beyond, and the term of
 the Mexico License expires on or before, January 1, 2024.

         Section 5.9     Data Security and Personal Information. Since January 1, 2021, with respect
 to any Personal Information included within the Acquired Assets, (i) Sellers have implemented
 and maintained commercially reasonable safeguards, including administrative, technical and
 physical safeguards consistent with industry standards, that protect all Business Data (including
 any Personal Information constituting part of the Business Data) against loss, damage, and
 unauthorized access, use, modification, or other misuse, (ii) no Proceeding has been asserted or,
 to the Knowledge of Sellers, are threatened against any Seller by any Person with respect to the
 security, collection, processing or use of such Business Data, and (iii) Sellers have complied in all
 material respect with all of their contractual obligations and published policies, and with all
 applicable Laws, concerning any Personal Information constituting part of the Business Data. The



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 consummation of the transactions contemplated by this Agreement, including the transfer of the
 Acquired Assets to Buyer, shall not violate any of Sellers’ published policies, contractual
 obligations, applicable Laws, or any other legally binding obligations concerning privacy or data
 security, and no such published policies, applicable Laws or other legally binding obligations shall
 prohibit or impair, in any material respect, Buyer’s receipt or use of any Business Data in a manner
 substantially consistent with the manner as used in the Business during the twelve months prior to
 Closing.

        Section 5.10    Tax Matters.

                (a)    All material Tax Returns required to be filed with respect to the Acquired
 Assets, the Assumed Liabilities or the Business have been duly and timely filed, and all such Tax
 Returns are true, complete and accurate in all material respects.

                (b)    All material Taxes required to be paid with respect to the Acquired Assets,
 the Assumed Liabilities or the Business (whether or not shown on any Tax Return) have been duly
 and timely paid.

                (c)      Each Seller has timely and properly collected, withheld and paid over to the
 appropriate Governmental Authority (or where such payment is not yet due, set aside in an account
 for such purpose), all Taxes required to have been collected, withheld and paid over in connection
 with amounts received or owed from or paid or owing to any employee, independent contractor,
 creditor, stockholder, customer, or other third party, and has complied with all applicable
 information reporting requirements, in each case, with respect to or in connection with the
 Acquired Assets, the Assumed Liabilities or the Business.

                  (d)   There is no Tax Proceeding pending or threatened in writing with respect to
 or relating to the Acquired Assets or the Assumed Liabilities or the Business.

                 (e)     None of the Acquired Assets constitutes stock, partnership interests, or any
 other equity interest in any Person for U.S. federal income Tax purposes.

                (f)  There are no Encumbrances for Taxes on any of the Acquired Assets other
 than Permitted Encumbrances.

                (g)    No Seller has received written notice of any material Tax deficiency
 outstanding, proposed or assessed, nor has any Seller waived any statute of limitations in respect
 of material Taxes or agreed to any extension of time with respect to a material Tax assessment,
 collection or deficiency with respect to the Acquired Assets, the Assumed Liabilities or the
 Business.

                (h)     Except to the extent that doing so would not adversely impact the Acquired
 Assets, the Assumed Liabilities or the Business, or the Buyer’s ownership of the Acquired Assets,
 or assumption of the Assumed Liabilities, none of Sellers has participated in any “listed
 transaction” within the meaning of 26 C.F.R. § 1.6011-4(b)(2).

        Section 5.11 Sufficiency. Except as set forth in Section 5.11 of the Disclosure Schedules,
 except for Excluded Software and excluding licenses, sublicenses, covenants not to assert or


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 similar rights granted to Sellers solely for the development, use or maintenance of Excluded
 Software or information technology infrastructure, and except for any Excluded Listed Contracts
 (including Contracts that are designated as Excluded Listed Contracts in accordance herewith after
 the Effective Date), Sellers own or have, and will, pursuant to this Agreement, transfer to Buyer
 at the Closing, sufficient assets, rights and information necessary to (i) administer and control the
 operation of the Mobile Platform and Internet Properties, (ii) display any content (including any
 text, fonts, colors, cascading style sheets (CSS), layouts, video, images and graphics) displayed on
 any Business Internet Properties or the Mobile Platforms in the manner displayed in connection
 with the Business during the twelve months prior to the date hereof, and (iii) otherwise administer,
 control and use all other Acquired Assets, in each case, in a manner substantially consistent with
 the manner, in all material respects, as by and on behalf of Sellers (as applicable) in connection
 with the Business during the twelve months prior to the date hereof, free and clear of all
 Encumbrances (other than Permitted Encumbrances), all of which rights and assets will survive
 the consummation of the transactions contemplated under this Agreement materially unchanged
 and without termination, cancellation or acceleration of any rights or payments in connection
 therewith; provided that Buyer agrees that no representation is being made in this Agreement, and
 Buyer is not relying on any representation whatsoever, in each case, with respect to Excluded
 Software or the information technology infrastructure held or used in connection with the Business
 (including “back-end” to the Mobile Platform or Business Internet Properties), inventory,
 payments, transition services, or similar operational matters.

         Section 5.12 Brokers. Except for Lazard, the fees and expenses of which will be paid by
 Sellers, to the Knowledge of Sellers no broker, investment banker, financial advisor or other
 Person is entitled to any broker’s, finder’s, financial advisor’s or other similar fee or commission,
 or the reimbursement of expenses in connection therewith, in connection with the transactions
 contemplated hereby based upon arrangements made by or on behalf of Sellers.

         Section 5.13 No Other Representations or Warranties. Except for the representations and
 warranties expressly contained in this Article V (as qualified by the Disclosure Schedules and in
 accordance with the express terms and conditions (including limitations and exclusions) of this
 Agreement) (the “Express Representations”) (it being understood that Buyer relied only on such
 express representations and warranties), Buyer acknowledges and agrees, on its own behalf and
 on behalf of the Buyer Group, that the Acquired Assets are being acquired by Buyer “as is” and
 “where is” and with all faults and all other representations, warranties and statements of any kind
 or nature expressed or implied, whether in written, electronic or oral form, and that no Seller nor
 any other Person on behalf of any Seller makes, and Buyer has not relied on, is not relying on, and
 will not rely on (i) the accuracy or completeness of any express or implied representation or
 warranty with respect to any Seller, the Acquired Assets, or the Assumed Liabilities or with respect
 to any information, statements, disclosures, documents, projections, forecasts or other material of
 any nature made available or provided by any Person (including in any presentations or other
 materials prepared by Lazard) (the “Information Presentation”) or in that certain datasite
 administered by Intralinks (the “Dataroom”) or elsewhere to Buyer or any of its Affiliates or
 Advisors on behalf of Sellers or any of their Affiliates or Advisors, or (ii) any other statement
 relating to the historical, current or future business, financial condition, results of operations,
 assets, Liabilities, properties, Contracts, environmental compliance, employee matters, regulatory
 compliance, business risks and prospects of any Seller, or the quality, quantity or condition of any
 Seller’s assets. Without limiting the foregoing, no Seller nor any other Person will have or be


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 subject to any Liability whatsoever to Buyer, or any other Person, resulting from the distribution
 to Buyer or any of its Affiliates or Advisors, or Buyer’s or any of its Affiliates’ or Advisors’ use
 of or reliance on, any such information, including the Information Presentation, the Projections,
 any information, statements, disclosures, documents, projections, forecasts or other material made
 available to Buyer or any of its Affiliates or Advisors in the Dataroom or otherwise in expectation
 of the transactions contemplated by this Agreement or any discussions with respect to any of the
 foregoing information.

                                            ARTICLE VI

                   REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Sellers as follows.

         Section 6.1    Organization and Qualification. Buyer is a corporation duly formed, validly
 existing and in good standing under the laws of the State of Delaware and has all requisite power
 and authority necessary to carry on its business as it is now being conducted, except (other than
 with respect to Buyer’s due formation and valid existence) as would not, individually or in the
 aggregate, reasonably be expected to have a material adverse effect on Buyer’s ability to
 consummate the transactions contemplated by this Agreement.

         Section 6.2      Authorization of Agreement. Buyer has all necessary power and authority
 to execute and deliver this Agreement and to perform its obligations hereunder and to consummate
 the transactions contemplated hereby. The execution, delivery and performance by Buyer of this
 Agreement, and the consummation by Buyer of the transactions contemplated hereby, subject to
 requisite Bankruptcy Court approvals, have been duly authorized by all requisite corporate or
 similar organizational action and no other corporate or similar organizational proceedings on its
 part are necessary to authorize the execution, delivery and performance by Buyer of this
 Agreement and the consummation by it of the transactions contemplated hereby. Subject to
 requisite Bankruptcy Court approvals, this Agreement has been duly executed and delivered by
 Buyer and, assuming due authorization, execution and delivery hereof by the other Parties,
 constitutes a legal, valid and binding obligation of Buyer, enforceable against Buyer in accordance
 with its terms, except that such enforceability may be limited by the Enforceability Exceptions.

        Section 6.3     Conflicts; Consents.

                  (a)    Assuming that (i) requisite Bankruptcy Court approvals are obtained, and
 (ii) the notices, authorizations, approvals, Orders, permits or consents set forth on Section 6.3(a)
 of the Disclosure Schedules are made, given or obtained (as applicable), neither the execution and
 delivery by Buyer of this Agreement, nor the consummation by Buyer of the transactions
 contemplated hereby, nor performance or compliance by Buyer with any of the terms or provisions
 hereof, will (A) conflict with or violate any provision of Buyer’s articles of incorporation or
 bylaws or similar organizational documents, (B) violate any Law or Order applicable to Buyer,
 (C) violate or constitute a breach of or default (with or without notice or lapse of time, or both)
 under or give rise to a right of termination, modification, or cancelation of any obligation or to the
 loss of any benefit, any of the terms or provisions of any loan or credit agreement or other Contract
 to which Buyer is a party or accelerate Buyer’s obligations under any such Contract, or (D) result


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 in the creation of any Encumbrance (other than a Permitted Encumbrance) on any properties or
 assets of Buyer or any of its Subsidiaries, except, in the case of clauses (A) through (D), as would
 not, individually or in the aggregate, reasonably be expected to prevent or materially impair, alter
 or delay the ability of Buyer to consummate the transactions contemplated hereby.

                 (b)    Buyer is not required to file, seek or obtain any notice, authorization,
 approval, Order, permit or consent of or with any Governmental Authority in connection with the
 execution, delivery and performance by Buyer of this Agreement or the consummation by Buyer
 of the transactions contemplated hereby, except where failure to obtain such consent, approval,
 authorization or action, or to make such filing or notification, would not, individually or in the
 aggregate, reasonably be expected to prevent or materially impair, alter or delay the ability of
 Buyer to consummate the transactions contemplated hereby.

        Section 6.4    Financing. Buyer has, and will have at the Closing, sufficient funds in an
 aggregate amount necessary to pay the Purchase Price, to perform the Assumed Liabilities as they
 become due in accordance with their terms and to consummate all of the other transactions
 contemplated by this Agreement, including the payment of the Purchase Price and all fees,
 expenses of, and other amounts required to be paid by, Buyer in connection with the transactions
 contemplated by this Agreement. Buyer is and shall be capable of satisfying the conditions
 contained in sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the
 Transferred Contracts and the related Assumed Liabilities.

         Section 6.5     Brokers. Except for fees and expenses that will be borne solely by Buyer,
 and fees and expenses connected to Buyer’s engagement letter with Guggenheim Securities, LLC,
 there is no other investment banker, broker, finder, or other intermediary which has been retained
 by or is authorized to act on behalf of Buyer that might be entitled to any fee or commission in
 connection with the transactions contemplated by this Agreement.

         Section 6.6   No Litigation. There are no Proceedings pending or, to Buyer’s knowledge,
 threatened against or affecting Buyer except as would not, individually or in the aggregate,
 reasonably be expected to prevent or materially impair, alter or delay the ability of Buyer to
 consummate the transactions contemplated hereby.

         Section 6.7   No Foreign Person. As of Closing, Buyer will not be a “foreign person,” as
 defined in Section 721 of the U.S. Defense Production Act of 1950, including any implementing
 regulations thereof.

        Section 6.8      Solvency. Buyer is, and immediately after giving effect to the transactions
 contemplated by this Agreement shall be, solvent and at all times shall: (a) be able to pay its debts
 as they become due; (b) own property that has a fair saleable value greater than the amounts
 required to pay its debt and (c) have adequate capital to carry on its business. No transfer of
 property is being made and no obligation is being incurred in connection with the transactions
 contemplated hereby with the intent to hinder, delay or defraud either present or future creditors
 of Buyer or Sellers. In connection with the transactions contemplated hereby, Buyer has not
 incurred, nor plans to incur, debts beyond its ability to pay as they become absolute and matured.




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        Section 6.9    No Additional Representations or Warranties. Except for the
 representations and warranties contained in this Article VI, Sellers acknowledge that neither Buyer
 nor any other Person on behalf of Buyer makes any other express or implied representation or
 warranty with respect to Buyer or with respect to any other information provided to Sellers by
 Buyer.

                                           ARTICLE VII

                              BANKRUPTCY COURT MATTERS

        Section 7.1     Bankruptcy Actions.

                (a)      The bidding procedures to be employed with respect to this Agreement shall
 be those reflected in the Bidding Procedures Order. Buyer agrees and acknowledges that Sellers,
 including through their representatives, are and may continue soliciting inquiries, proposals or
 offers from third parties in connection with any Alternative Transaction pursuant to the terms of
 the Bidding Procedures Order.

                (b)     The Parties shall use their respective reasonable best efforts to obtain entry
 by the Bankruptcy Court of the Sale Order. Buyer shall promptly take all actions as are reasonably
 requested by Sellers to assist in obtaining the Bankruptcy Court’s entry of the Sale Order and any
 other Order reasonably necessary in connection with the transactions contemplated by this
 Agreement as promptly as practicable, including furnishing affidavits, financial information, or
 other documents or information for filing with the Bankruptcy Court and making such employees
 and Advisors of Buyer and its Affiliates available to testify before the Bankruptcy Court for the
 purposes of, among other things, providing necessary assurances of performance by Buyer under
 this Agreement and demonstrating that Buyer is a “good faith” purchaser under section 363(m) of
 the Bankruptcy Code, as well as demonstrating Buyer’s ability to pay and perform or otherwise
 satisfy any Assumed Liabilities following the Closing.

         Each Seller and Buyer shall (i) appear formally or informally in the Bankruptcy Court if
 reasonably requested by the other Party or required by the Bankruptcy Court in connection with
 the transactions contemplated by this Agreement and (ii) keep the other reasonably apprised of the
 status of material matters related to the Agreement, including, upon reasonable request promptly
 furnishing the other with copies of notices or other communications received by Sellers from the
 Bankruptcy Court with respect to the transactions contemplated by this Agreement.

                (c)     If an Auction is conducted, and Buyer is not the prevailing party at the
 conclusion of such Auction (such prevailing party, the “Successful Bidder”) but has the next
 highest (or otherwise best) bid at the Auction, Buyer shall be required to serve as a back-up bidder
 (the “Backup Bidder”) and keep Buyer’s bid to consummate the transactions contemplated by this
 Agreement on the terms and conditions set forth in this Agreement (as the same may be revised in
 the Auction) open and irrevocable until the Outside Date. If prior to the Outside Date the
 Successful Bidder fails to consummate the applicable Alternative Transaction as a result of a
 breach or failure to perform on the part of such Successful Bidder, the Backup Bidder will be
 deemed to have the new prevailing bid, and Sellers may, and may cause Buyer to, consummate




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 the transactions contemplated by this Agreement on the terms and conditions set forth in this
 Agreement (as the same may have been improved upon in the Auction).

                (d)     Sellers and Buyer acknowledge that this Agreement and the sale of the
 Acquired Assets are subject to higher and better bids and Bankruptcy Court approval. Buyer
 acknowledges that Sellers must take reasonable steps to demonstrate that they have sought to
 obtain the highest or otherwise best price for the Acquired Assets, including giving notice thereof
 to the creditors of Sellers and other interested parties, providing information about Sellers to
 prospective bidders, entertaining higher and better offers from such prospective bidders, and, in
 the event that additional qualified prospective bidders desire to bid for the Acquired Assets,
 conducting an Auction.

                 (e)     Buyer shall provide adequate assurance of future performance as required
 under section 365 of the Bankruptcy Code for the Transferred Contracts. Buyer agrees that it will
 take all actions reasonably required to assist in obtaining a Bankruptcy Court finding that there has
 been an adequate demonstration of adequate assurance of future performance under the
 Transferred Contracts, such as furnishing affidavits, non-confidential financial information and
 other documents or information for filing with the Bankruptcy Court and making Buyer’s Advisors
 available to testify before the Bankruptcy Court.

                 (f)      After entry of the Sale Order, Sellers shall not take any action which is
 intended to, or fail to take any action the intent of which failure to act is to, result in the reversal,
 voiding, modification or staying of the Sale Order.

         Section 7.2     Sale Order. The Sale Order shall, among other things, (a) approve, pursuant
 to sections 105, 363 and 365 of the Bankruptcy Code, (i) the execution, delivery and performance
 by Sellers of this Agreement, (ii) the sale of the Acquired Assets to Buyer on the terms set forth
 herein and free and clear of all Encumbrances (other than Permitted Encumbrances), and (iii) the
 performance by Sellers of their obligations under this Agreement, (b) authorize and empower
 Sellers to assume and assign to Buyer the Transferred Contracts, (c) find that Buyer is a “good
 faith” purchaser within the meaning of section 363(m) of the Bankruptcy Code, find that Buyer is
 not a successor to any Seller, and grant Buyer the protections of section 363(m) of the Bankruptcy
 Code, (d) find that Buyer shall have no Liability or responsibility for any Liability or other
 obligation of any Seller arising under or related to the Acquired Assets other than as expressly set
 forth in this Agreement, including successor or vicarious Liabilities of any kind or character,
 including any theory of antitrust, environmental, successor, or transferee Liability, labor law, de
 facto merger, or substantial continuity, (e) find that Buyer has provided adequate assurance (as
 that term is used in section 365 of the Bankruptcy Code) of future performance in connection with
 the assumption of the Transferred Contracts, (f) find that Buyer shall have no Liability for any
 Excluded Liability, (g) find that the consideration provided by Buyer pursuant to this Agreement
 constitutes reasonably equivalent value and fair consideration for the Acquired Assets, (h) find
 that Buyer and Sellers did not engage in any conduct which would allow this Agreement to be set
 aside pursuant to section 363(n) of the Bankruptcy Code and (i) order that, notwithstanding the
 provisions of the Federal Rules of Bankruptcy Procedures 6004(h) and 6006(d), the Sale Order is
 not stayed and is effective immediately upon entry. Buyer agrees that it will promptly take such
 actions as are reasonably requested by any Seller to assist in obtaining Bankruptcy Court approval
 of the Sale Order, including furnishing affidavits or other documents or information for filing with


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 the Bankruptcy Court for purposes, among others, of (A) demonstrating that Buyer is a “good
 faith” purchaser under section 363(m) of the Bankruptcy Code and (B) establishing adequate
 assurance of future performance within the meaning of section 365 of the Bankruptcy Code.

         Section 7.3   Approval. Sellers’ obligations under this Agreement and in connection with
 the transactions contemplated hereby are subject to entry of and, to the extent entered, the terms
 of any Orders of the Bankruptcy Court (including entry of the Sale Order). Nothing in this
 Agreement shall require Sellers or their respective Affiliates to give testimony to or submit a
 motion to the Bankruptcy Court that is untruthful or to violate any duty of candor or other fiduciary
 duty to the Bankruptcy Court or its stakeholders.

                                          ARTICLE VIII

                               COVENANTS AND AGREEMENTS

        Section 8.1     Conduct of Business of Sellers.

                 (a)    Except (i) as required by applicable Law, Order or a Governmental
 Authority, (ii) any limitations on operations imposed by the Bankruptcy Court, (iii) as expressly
 contemplated, required or permitted by this Agreement, (iv) to the extent related to an Excluded
 Asset or an Excluded Liability or (v) as set forth on Section 8.1 of the Disclosure Schedules, during
 the period from the date of this Agreement until the Closing (or such earlier date and time on which
 this Agreement is terminated pursuant to Article X), unless Buyer otherwise consents in writing
 (such consent not to be unreasonably withheld, conditioned or delayed), Sellers shall (x) use their
 commercially reasonable efforts to continue to operate in the Ordinary Course.

                (b)     Except (A) as required by applicable Law, Order or a Governmental
 Authority, (B) any limitations on operations imposed by the Bankruptcy Court or the Bankruptcy
 Code, as the case may be, (C) as expressly contemplated, required or permitted by this Agreement,
 (D) to the extent related to an Excluded Asset or an Excluded Liability or (E) as set forth on
 Section 8.1 of the Disclosure Schedules, during the period from the Effective Date until the
 Closing (or such earlier date and time on which this Agreement is terminated pursuant to
 Article X), unless Buyer otherwise consents in writing (such consent not to be unreasonably
 withheld, delayed or conditioned), Sellers shall not:

                       (i)     sell, assign, license, lease (as lessor), transfer, abandon, fail to
        maintain, allow to lapse or otherwise dispose of, or mortgage or pledge, or voluntarily
        impose or suffer to be imposed any Encumbrance (other than Assumed Liabilities and any
        Encumbrances that will be removed or released by operation of the Sale Order) on, any
        Acquired Asset;

                        (ii)    cancel or compromise any material claim or waive or release any
        material right, in each case, that is a claim or right related to an Acquired Asset;

                      (iii)  settle any pending or threatened Proceeding against any Seller that
        would have an adverse effect on the Acquired Assets or result in an Assumed Liability; or

                        (iv)    commit or agree to take any of, the foregoing actions.


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               (c)     Within one Business Day of the Effective Date, Sellers shall make the
 changes to the home page of the Web site of the Business described on Section 8.1(c) of the
 Disclosure Schedules.

                 (d)      Nothing contained in this Agreement is intended to give Buyer or its
 Affiliates, directly or indirectly, the right to control or direct any Seller’s operations or business
 prior to the Closing, and nothing contained in this Agreement is intended to give any Seller,
 directly or indirectly, the right to control or direct Buyer’s or its Subsidiaries’ operations. Prior to
 the Closing, each of Buyer and Sellers shall exercise, consistent with the terms and conditions of
 this Agreement, complete control and supervision over its and its Subsidiaries’ respective
 operations.

         Section 8.2     Access to Information.

                 (a)    From the Effective Date until the Closing (or the earlier termination of this
 Agreement pursuant to Article X), Sellers (in their discretion) will provide Buyer and its
 authorized Advisors with reasonable access and upon reasonable advance notice and during
 regular business hours to the books and records of Sellers, in order for Buyer and its authorized
 Advisors to access such information regarding the Acquired Assets and the Assumed Liabilities
 as is reasonably necessary in order to consummate the transactions contemplated by this
 Agreement (including for integration purposes); provided that (i) such access does not
 unreasonably interfere with the normal operations of any Seller, (ii) such access will occur in such
 a manner as Sellers reasonably determine to be appropriate to protect the confidentiality of the
 transactions contemplated by this Agreement, (iii) all requests for access will be directed to Lazard
 or such other Person(s) as Sellers may designate in writing from time to time and (iv) nothing
 herein will require Sellers to provide access to, or to disclose any information to, Buyer if such
 access or disclosure (A) would cause significant competitive harm to any Seller if the transactions
 contemplated by this Agreement are not consummated, (B) would require any Seller to disclose
 any financial or proprietary information of or regarding the Affiliates of any Seller or otherwise
 disclose information regarding the Affiliates of any Seller that such Seller deems to be
 commercially sensitive, (C) would waive any legal privilege or (D) would be in violation of
 applicable Laws; provided that Sellers shall use reasonable best efforts to provide the Buyer, to
 the extent possible, with access to the relevant information in a manner that would not reasonably
 be expected to violate the foregoing clauses (A) through (D).

                (b)     The information provided pursuant to this Section 8.2 will be used solely
 for the purpose of consummating the transactions contemplated hereby (including for integration
 planning), and will be governed by all the terms and conditions of the Confidentiality Agreement,
 which Confidentiality Agreement shall not terminate upon the execution of this Agreement
 notwithstanding anything to the contrary therein. Buyer will, and will cause its Advisors to, abide
 by the terms of the Confidentiality Agreement with respect to such access and any information
 furnished to Buyer or any of its Advisors. Sellers make no representation or warranty as to the
 accuracy of any information, if any, provided pursuant to this Section 8.2, and Buyer may not rely
 on the accuracy of any such information, in each case, other than the Express Representations.

                (c)     Sellers shall not, and shall cause their Affiliates and Advisors not to, for a
 period of two years after the Closing, directly or indirectly, without Buyer’s prior written consent,


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 use for any purpose (except as otherwise specifically permitted in this Agreement) or disclose to
 any third party (other than each other and their respective Advisors) any confidential or proprietary
 information concerning the Business, the Acquired Assets or the Assumed Liabilities (including
 such information as may be disclosed to Sellers pursuant to the exercise of its rights to access
 information following the Closing as set forth herein); provided that the foregoing restriction shall
 not (i) apply to any information (A) generally available to, or known by, the public (other than as
 a result of disclosure in violation of this Agreement), (B) independently developed by Sellers or
 any of their respective Affiliates following the Closing without any reference to confidential or
 proprietary information concerning the Business, or (C) becomes available to Sellers or any of
 their respective Representatives from a third party if such source is not known by Sellers at the
 time of the disclosure to be bound by a confidentiality agreement with, or other known contractual
 or legal obligation of confidentiality to, Buyer with respect to such information, or (ii) prohibit any
 disclosure (A) required by applicable Law so long as, to the extent practicable and legally
 permissible, the applicable Seller provides Buyer with reasonable prior notice of such disclosure
 and a reasonable opportunity (at Buyer’s sole cost and expense) to contest such disclosure, (B)
 made in connection with the enforcement of any right or remedy relating to any of the Transaction
 Documents or the transactions contemplated thereby, (C) necessary to permit Sellers or any of
 their respective Affiliates to comply with their financial reporting, accounting or auditing
 obligations with respect to any period ending before or including the Closing Date with respect to
 the Business, the Excluded Assets or the Excluded Liabilities, or (D) necessary in connection with
 the administration of the Bankruptcy Cases, the winding down of Sellers’ estate, the payment of
 any Taxes or the filing of any Tax Returns or the recording of any claims in connection therewith.

                 (d)    From and after the Closing for a period of two years following the Closing
 Date (or, if later, the closing of the Bankruptcy Cases), Buyer will provide Sellers and their
 Advisors with reasonable access, during normal business hours, and upon reasonable advance
 notice, to the books and records, including work papers, schedules, memoranda, Tax Returns, Tax
 schedules, Tax rulings, and other documents (for the purpose of examining and copying) relating
 to the Acquired Assets, the Excluded Assets, the Assumed Liabilities or the Excluded Liabilities
 with respect to periods or occurrences prior to or including the Closing Date, and reasonable
 access, during normal business hours, and upon reasonable advance notice, to employees, officers,
 Advisors, accountants, offices and properties of Buyer, in each case, solely to the extent (i)
 necessary to permit Sellers or any of their respective Affiliates to comply with their financial
 reporting, accounting or auditing obligations with respect to any period ending before or including
 the Closing Date with respect to the Business, or the Excluded Assets or Excluded Liabilities,
 (ii) as reasonably necessary for Sellers to comply with regulatory requirements under applicable
 Law or otherwise in connection with tax, or regulatory matters or (iii) in connection with the
 administration of the Bankruptcy Cases, the winding down of Sellers’ estate, the payment of any
 Taxes or the recording of any claims in connection therewith. Unless otherwise consented to in
 writing by Sellers, Buyer will use commercially reasonable efforts not to, for a period of
 three years following the Closing Date, destroy, alter or otherwise dispose of any of such books
 and records without first offering to surrender to Sellers such books and records or any portion
 thereof that Buyer may intend to destroy, alter or dispose of. Notwithstanding anything to the
 contrary in this Agreement, no Seller (or any Advisor thereof) shall be entitled to any Tax Return
 (or copy thereof) of Buyer or any of its Affiliates.




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                 (e)     Except in the ordinary course of business unrelated to the Business or the
 transactions contemplated hereby, Buyer will not and will cause all its Advisors and Affiliates not
 to contact any officer, manager, director, employee, customer, supplier, lessee, lessor, lender,
 licensee, licensor, distributor, noteholder or other material business relation of any Seller prior to
 the Closing with respect to any Seller, its business or the transactions contemplated by this
 Agreement without the prior written consent of Sellers for each such contact (which consent shall
 not be unreasonably withheld, conditioned or delayed).

         Section 8.3    Reasonable Efforts; Cooperation. Subject to the other terms of this
 Agreement, each Party shall, and shall cause its Advisors to, use its reasonable best efforts to
 perform its obligations hereunder and to take, or cause to be taken, and do, or cause to be done, all
 things necessary, proper or advisable to cause the transactions contemplated hereby to be effected
 as soon as practicable, but in any event on or prior to the Outside Date, in accordance with the
 terms hereof and to cooperate with each other Party and its Advisors in connection with any step
 required to be taken as a part of its obligations hereunder.

          Section 8.4    Further Assurances. From time to time, as and when requested by any Party
 and at such requesting Party’s expense, any other Party will execute and deliver, or cause to be
 executed and delivered, all such documents and instruments and will take, or cause to be taken, all
 such further or other actions as such requesting Party may reasonably deem necessary or desirable
 to evidence and effectuate the transactions contemplated by this Agreement. In furtherance and
 not in limitation of the foregoing, in the event that any of the Acquired Assets shall not have been
 conveyed at Closing, Sellers shall use reasonable best efforts to convey such Acquired Assets to
 Buyer as promptly as practicable after the Closing. Notwithstanding anything in this Agreement
 to the contrary, Buyer shall have the right, following the Closing, to enter into any contracts or
 other commercial arrangements with respect to the Acquired Assets, including with existing or
 prior vendors, suppliers and other counterparties of the Business and Sellers, and Sellers shall use
 commercially reasonable efforts to cooperate with Buyer (at no cost or expense to Sellers, unless
 such cost or expense is covered by Buyer) in connection with facilitating the foregoing.

         Section 8.5    Insurance Matters. Buyer acknowledges that, upon Closing, all
 nontransferable insurance coverage provided in relation to any Seller and the Acquired Assets that
 is maintained by such Seller or its Affiliates (whether such policies are maintained with third party
 insurers or with such Seller or its Affiliates) shall cease to provide any coverage to Buyer and the
 Acquired Assets and no further coverage shall be available to Buyer or the Acquired Assets under
 any such policies.

        Section 8.6     Receipt of Misdirected Assets; Liabilities.

                 (a)     From and after the Closing, if any Seller or any of its respective Affiliates
 receives any right, property or asset that is an Acquired Asset, the applicable Seller shall promptly
 transfer or cause such of its Affiliates to transfer such right, property or asset (and shall promptly
 endorse and deliver any such asset that is received in the form of cash, checks or other documents)
 to Buyer, and such asset will be deemed the property of Buyer held in trust by such Seller for
 Buyer until so transferred. From and after the Closing, if Buyer or any of its Affiliates receives
 any right, property or asset that is an Excluded Asset, Buyer shall promptly transfer or cause such
 of its Affiliates to transfer such asset (and shall promptly endorse and deliver any such right,


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 property or asset that is received in the form of cash, checks, or other documents) to the applicable
 Seller, and such asset will be deemed the property of such Seller held in trust by Buyer for such
 Seller until so transferred.

                  (b)     From and after the Closing, if any Seller or any of its respective Affiliates
 is subject to a Liability that should be the obligation of Buyer pursuant to the terms of this
 Agreement, such Seller shall promptly transfer or cause such of its Affiliates to transfer such
 Liability to Buyer, and Buyer shall assume and accept such Liability. From and after the Closing,
 if Buyer or any of its Affiliates is subject to a Liability that should be the obligation of a Seller
 pursuant to the terms of this Agreement, Buyer shall promptly transfer or cause such of its
 Affiliates to transfer such Liability to the applicable Seller, and such Seller shall assume and accept
 such Liability.

         Section 8.7     Transitional Trademark License. To the extent any Excluded Trademarks
 (or any Trademarks owned or sublicensable by any Seller Party) are displayed on or included in
 any of the Acquired Assets as of the Closing, Sellers hereby grant to Buyer and its Affiliates a
 limited, royalty-free, fully paid up, worldwide, non-exclusive license, solely for a period of three
 months immediately following the Closing, to continue to use and display such Trademarks in a
 manner substantially consistent with the manner already displayed on such Acquired Assets as of
 the Closing.

          Section 8.8    Transitional Welcome Marks License. Buyer hereby grants to Seller and its
 Affiliates a limited, royalty-free, fully paid up, worldwide, non-exclusive license, solely until
 September 30, 2023, to state that the rewards program of the Excluded Business will be changing
 from “Welcome Rewards” to another name; provided that any such communication also includes
 a reasonably clear statement that such “Welcome Rewards” earned at buybuyBaby are not
 redeemable at bedbathandbeyond.com. Seller shall have the right to assign this license to the buyer
 of all or any portion of the Excluded Business.

         Section 8.9      Transitional Trademark License Back. To the extent any Trademarks
 constituting Business IP are (a) displayed on any inventory owned by any Seller or its Affiliates
 as of the Closing, or (b) otherwise used in connection with the Business as of the Closing, Buyer
 hereby grants to each Seller and its Affiliates a limited, royalty-free, fully paid up, worldwide,
 non-exclusive license, (i) with respect to (a), until the earlier of (x) July 31, 2023 or (y) the date
 on which Sellers have exhausted or otherwise disposed of such existing inventory (such date the
 “Commercialization End Date”), solely to continue to use and display such Trademarks on such
 inventory and at the physical retail stores where such inventory is held as at Closing, in each case,
 in a manner substantially consistent with the manner already displayed as of the Closing, (ii) with
 respect to clauses (a) and (b), until the Commercialization End Date, subject to any limitations set
 forth in Section 8.12 and Section 8.13, promote and market the sale and liquidation of inventory
 in substantially the same manner as done by Sellers prior to the Closing, and (iii) with respect to
 clause (b) until the earlier of September 30, 2023 or when such corporate wind-down activities are
 complete (the “Wind-Down End Date”), solely in connection with the wind-down of Sellers’ and
 their respective Affiliates’ remaining corporate (and not store) operations (provided that, for the
 avoidance of doubt, such wind-down shall, following the Commercialization End Date, exclude
 any sale, promotion, or commercialization of any consumer products or product inventory), but
 may include the sale of non-product assets (e.g., equipment, machinery, fixtures) (this clause (iii),


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 the “Wind-Down”). Each Seller shall, and shall cause its Affiliates to, ensure that any goods and
 services provided in association with any such Trademarks are of a character and quality
 substantially equivalent to or better than the quality of those provided by Sellers in the twelve
 month period prior to the Closing, and will not use or display any such Trademarks in a manner
 that impairs the goodwill associated therewith in any material respect.

         Section 8.10 Legal Entity Names. Without limiting Section 8.9, to the extent that any
 Sellers or their Affiliates continue to incorporate the Trademarks or words “Bed Bath & Beyond,”
 “Bed Bath and Beyond,” or any combination or variation of the foregoing (“Beyond Marks”) in
 their corporate or legal names following the Closing, Sellers shall, and shall cause any such
 applicable Affiliates to, by no later than September 30, 2023, (a) dissolve such entities or (b)
 change the corporate and legal names of such entities to no longer incorporate any Beyond Marks.

        Section 8.11    Mobile Platform Transfer and Update.

                 (a)    Sellers shall, and shall cause any of their applicable Affiliates to, at least
 seven Business Days prior to Closing, submit or cause to be submitted to the Apple App Store and
 Google Play Store the applicable Software packages that Buyer will provide to Sellers for the
 purpose of updating the mobile Software applications made available through the Mobile
 Platforms; provided that (i) Sellers may stipulate when submitting such Software packages and
 attendant update requests that the “go-live” date for such updates will occur on or within two days
 following the date of the hearing before the Bankruptcy Court to consider the Sale Order, and
 (ii) Sellers may cancel and rescind such update request if this Agreement terminates prior to
 Closing. Sellers shall mark such submission for “manual release,” and immediately following the
 Closing, Sellers shall, and shall cause any of their applicable Affiliates to, provide Buyer with
 access to the accounts held by or on behalf of Sellers and their Affiliates with respect to the Mobile
 Platform on the Apple App Store and Google Play Store.

                (b)     Without limiting the foregoing, Sellers shall, and shall cause any of their
 applicable Affiliates to, reasonably cooperate and assist in good faith as may be reasonably
 requested by the Buyer in connection with the Buyer’s efforts to prepare and promptly implement
 any updates needed to commence Buyer’s administration, operation and control of the Mobile
 Platform (and the content provided thereon) promptly following the Closing.

         Section 8.12 Use of Email. From and after the Closing, Sellers shall be permitted and
 entitled (a) until the Commercialization End Date (i) to use and access the bedbathandbeyond.com
 email domain to email customers of the Business (including using customer information included
 in Business Data) and (ii) maintain and operate the website at bedbathandbeyond.com, in each
 case, in connection with the promotion and marketing of the sale and liquidation of inventory in
 substantially the same manner as done by Sellers prior to the Closing, but subject to Section 8.13,
 and (b) until the Wind-Down End Date, permit Sellers and its designees to use and access the
 bedbath.com email domain as an email server in connection with the Wind-Down. Buyer shall,
 and shall cause the Buyer Group to, reasonably cooperate with and assist Sellers in connection
 with the foregoing, and Buyer shall not, and shall cause the Buyer Group not to, take any actions
 that will prevent any Seller or its designees from performing the foregoing. Without limiting the
 foregoing, Buyer shall, and shall cause members of the Buyer Group to, (y) through July 31, 2023,
 maintain and operate the bedbathandbeyond.com email domain as currently configured, and


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 (z) through September 30, 2023, maintain and operate the bedbath.com email domain as currently
 configured. Any communication by Sellers on bedbath.com will be and will remain Sellers’
 exclusive property, and Buyer will not, and will not permit any of its Advisors acting on its behalf
 to, access such communication without Sellers’ (or their applicable successors’, if any) prior
 written consent.

         Section 8.13 Cooperation on Communications. Following the Closing, no Seller shall
 send out any email or other notice communication to customers without the prior written consent
 of Buyer (such consent not to be unreasonably withheld, conditioned or delayed); provided that
 (a) consent shall be deemed received if Buyer does not object within 24 hours of Buyer’s receipt
 of such proposed communication (which may be by email to the address set forth in Section 12.3
 but not subject to the timing requirements in such section), (b) such consent shall not be required
 (but Buyer shall still receive prompt notice thereof) if the proposed communication is substantially
 identical to (i) any prior communication consented to (or deemed consented to in accordance with
 clause (a)) by Buyer or (ii) the form(s) attached to Section 8.13 of the Disclosure Schedules, and
 (c) any objection solely due to pricing or discount information shall be deemed unreasonable.
 Following the Closing through July 31, 2023, Buyer shall not, and shall cause each member of the
 Buyer Group not to, send any email or other communication to customers of the Business, and
 include any messaging on the website of the Business, in each case, that actively seeks to keep
 customers from going to the brick and mortar stores of the Business for the “store closing” sales
 of the Business. Sellers each agree that, following the Closing, no Seller shall send any email or
 other communication to customers of the Business, or include any messaging on the website of the
 Business, in each case that states or implies that the e-commerce part of the Business is ceasing
 operations or winding down its business activities. For the avoidance of doubt, the term “going out
 of business” shall not be included in any email or other customer communication without specific
 modifications limiting its meaning to physical stores and inventory.

        Section 8.14 IP Condition. Sellers shall use reasonable best efforts to satisfy the matters
 described on Section 8.14 of the Disclosure Schedules in accordance with the terms thereof (the
 completion and performance of such matters, the “IP Condition”).

        Section 8.15    Acknowledgment by Buyer.

                (a)     Buyer acknowledges and agrees that it has conducted to its full satisfaction
 an independent investigation and verification of the business (including its financial condition,
 results of operations, assets, Liabilities, properties, Contracts, environmental, health or safety
 conditions and compliance, employee matters, regulatory compliance, business risks and
 prospects) of Sellers, the Acquired Assets and the Assumed Liabilities, and, in making its
 determination to proceed with the transactions contemplated by this Agreement, Buyer has relied
 solely on the Express Representations and the results of the Buyer Group’s own independent
 investigation and verification and has not relied on, is not relying on, and will not rely on, any
 information, statements, disclosures, documents, projections, forecasts or other material made
 available to Buyer or any of its Affiliates or Advisors in the Dataroom, the Information
 Presentation, or the Projections or any other information, statements, disclosures or materials, in
 each case, whether written or oral, made or provided by or on behalf of any Seller, or any failure
 of any of the foregoing to disclose or contain any information, except for the Express
 Representations (it being understood that Buyer has relied only on the Express Representations).


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 Buyer acknowledges and agrees that (i) the Express Representations are the sole and exclusive
 representations, warranties and statements of any kind made to Buyer or any member of the Buyer
 Group and on which Buyer or any member of the Buyer Group may rely in connection with the
 transactions contemplated by this Agreement and (ii) all other representations, warranties and
 statements of any kind or nature expressed or implied, whether in written, electronic or oral form,
 including (A) the completeness or accuracy of, or any omission to state or to disclose, any
 information (other than solely to the extent expressly set forth in the Express Representations)
 including in the Dataroom, Information Presentation, Projections, meetings, calls or
 correspondence with management of any Seller, any of the Seller Parties or any other Person on
 behalf of any Seller or any of the Seller Parties or any of their respective Affiliates or Advisors
 and (B) any other statement relating to the historical, current or future business, financial condition,
 results of operations, assets, Liabilities, properties, Contracts, environmental, health or safety
 conditions and compliance, employee matters, regulatory compliance, business risks and prospects
 of Sellers, or the quality, quantity or condition of any Seller’s assets, are, in each case, specifically
 disclaimed by each Seller, on its behalf and on behalf of the Seller Parties. Buyer, on its own behalf
 and on behalf of the Buyer Group: (1) disclaims reliance on the items in clause (ii) in the
 immediately preceding sentence; and (2) acknowledges and agrees that it has relied on, is relying
 on and will rely on only the items in clause (i) in the immediately preceding sentence.

                   (b)    Without limiting the generality of the foregoing, in connection with the
 investigation by the Buyer Group of Sellers, Buyer and the members of the Buyer Group, and the
 Advisors of each of the foregoing, have received or may receive, from or on behalf of Sellers,
 certain projections, forward-looking statements and other forecasts (whether in written, electronic,
 or oral form, and including in the Information Presentation, Dataroom, management meetings,
 etc.) (collectively, “Projections”). Buyer acknowledges and agrees that (i) such Projections are
 being provided solely for the convenience of Buyer to facilitate its own independent investigation
 of Sellers, (ii) there are uncertainties inherent in attempting to make such Projections, (iii) Buyer
 is familiar with such uncertainties, and (iv) Buyer is taking full responsibility for making their own
 evaluation of the adequacy and accuracy of all Projections (including the reasonableness of the
 assumptions underlying such Projections).



                                             ARTICLE IX

                                   CONDITIONS TO CLOSING

         Section 9.1   Conditions Precedent to the Obligations of Buyer and Sellers. The
 respective obligations of each Party to consummate the transactions contemplated by this
 Agreement are subject to the satisfaction (or to the extent permitted by Law, written waiver by
 Sellers and Buyer) on or prior to the Closing Date, of each of the following conditions:

               (a)     no court of competent jurisdiction shall have issued, enacted, entered,
 promulgated or enforced any Order (including any temporary restraining Order or preliminary or
 permanent injunction) restraining, enjoining or otherwise prohibiting the transactions
 contemplated by this Agreement that is still in effect; and



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                (b)     the Bankruptcy Court shall have entered the Sale Order, which shall not (i)
 be subject to any stay or (ii) have been vacated or modified after entrance in any respect and this
 Agreement shall become effective in accordance with its terms.

         Section 9.2    Conditions Precedent to the Obligations of Buyer. The obligations of Buyer
 to consummate the transactions contemplated by this Agreement are subject to the satisfaction (or
 to the extent permitted by Law, written waiver by Buyer in its sole discretion), on or prior to the
 Closing Date, of each of the following conditions:

                 (a)     (i) the representations and warranties made by Sellers in Article V (in each
 case, other than the Fundamental Representations) shall be true and correct in all respects as of the
 Closing Date as though made on and as of the Closing Date, except (A) that representations and
 warranties that are made as of a specified date need be true and correct only as of such date and
 (B) to the extent the failure of such representations and warranties to be true and correct as of such
 dates has not had a Material Adverse Effect (provided that for purposes of the foregoing clauses,
 the qualifications as to materiality and Material Adverse Effect contained in such representations
 and warranties shall not be given effect (other than those contained in Section 5.5)) and (ii) the
 representations and warranties set forth in Section 5.1 and Section 5.2 (collectively, the
 “Fundamental Representations”) shall be true and correct in all respects as of the Closing Date as
 though made on and as of the Closing Date, except that such Fundamental Representations that
 are made as of a specified date need be true and correct in all material respects only as of such
 date;

                 (b)     Sellers shall have performed and complied in all material respects with the
 covenants contained in this Agreement which are required to be performed and complied with by
 Sellers on or prior to the Closing;

                (c)    Buyer shall have received a certificate signed by an executive officer of
 Sellers stating that the conditions specified in Section 9.2(a) and Section 9.2(b) have been
 satisfied; and

                 (d)     Sellers shall have delivered, or caused to be delivered, to Buyer all of the
 items set forth in Section 4.3, except for such deliveries which, by their nature, cannot be made on
 or prior to the Closing.

         Section 9.3      Conditions Precedent to the Obligations of Sellers. The obligations of
 Sellers to consummate the transactions contemplated by this Agreement are subject to the
 satisfaction (or to the extent permitted by Law, written waiver by Sellers in their sole discretion),
 on or prior to the Closing Date, of each of the following conditions:

                (a)      The representations and warranties of Buyer contained in Article VI shall
 be true and correct in all respects as of the Closing Date as though made on and as of the Closing
 Date, except (i) that representations and warranties that are made as of a specified date need be
 true and correct only as of such date and (ii) to the extent the failure of such representations and
 warranties to be true and correct as of such dates, individually or in the aggregate, has not had and
 would not reasonably be expected to prevent or materially impair the ability of Buyer to
 consummate the transactions contemplated by this Agreement;



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                  (b)    Buyer shall have performed and complied in all material respects with the
 covenants contained in this Agreement which are required to be performed and complied with by
 it on or prior to the Closing;

                (c)      Sellers shall have received a certificate signed by an executive officer of
 Buyer stating that the conditions specified in Section 9.3(a) and Section 9.3(b) have been satisfied;
 and

                 (d)     Buyer shall have delivered, or caused to be delivered, to Sellers all of the
 items set forth in Section 4.2, except for such deliveries which, by their nature, cannot be made on
 or prior to the Closing.

                                            ARTICLE X

                                         TERMINATION

        Section 10.1 Termination of Agreement. This Agreement may be terminated only in
 accordance with this Section 10.1. This Agreement may be terminated at any time prior to the
 Closing:

                (a)     by the mutual written consent of Sellers and Buyer;

                 (b)    by written notice of either Buyer or Sellers, upon the issuance of an Order
 by a court of competent jurisdiction restraining, enjoining or otherwise prohibiting the
 consummation of the transactions contemplated by this Agreement or declaring unlawful the
 transactions contemplated by this Agreement, and such Order having become final, binding and
 non-appealable; provided that no Party may terminate this Agreement under this Section 10.1(b)
 if the issuance of such Order was caused by such Party’s material breach of any of its obligations
 under this Agreement;

                 (c)    by written notice of either Buyer or Sellers, if the Closing shall not have
 occurred on or before July 3, 2023 (the “Outside Date”); provided that a Party shall not be
 permitted to terminate this Agreement pursuant to this Section 10.1(c) if the failure of the Closing
 to have occurred by the Outside Date was caused by such Party’s material breach of any of its
 obligations under this Agreement;

                  (d)     by written notice from Sellers to Buyer, upon a breach of any covenant or
 agreement on the part of Buyer, or if any representation or warranty of Buyer will have become
 untrue, in each case, such that the conditions set forth in Section 9.3(a) or Section 9.3(b) would
 not be satisfied, including a breach of Buyer’s obligation to consummate the Closing; provided
 that (i) if such breach is curable by Buyer then Sellers may not terminate this Agreement under
 this Section 10.1(d) unless such breach has not been cured by the date which that the earlier of
 (A) the Outside Date and (B) 15 Business Days after Sellers notify Buyer in writing of such breach
 and (ii) the right to terminate this Agreement pursuant to this Section 10.1(d) will not be available
 to Sellers at any time that Sellers are in material breach of, any covenant, representation or
 warranty hereunder such that the conditions set forth in Section 9.2(a) or Section 9.2(b) would not
 be satisfied;



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                 (e)     by written notice from Buyer to Sellers, upon a breach of any covenant or
 agreement on the part of Sellers, or if any representation or warranty of Sellers will have become
 untrue, in each case, such that the conditions set forth in Section 9.2(a) or Section 9.2(b) would
 not be satisfied; provided that (i) if such breach is curable by Sellers then Buyer may not terminate
 this Agreement under this Section 10.1(e) unless such breach has not been cured by the date which
 is the earlier of (A) the Outside Date and (B) 15 Business Days after Buyer notifies Sellers in
 writing of such breach and (ii) the right to terminate this Agreement pursuant to this
 Section 10.1(e) will not be available to Buyer at any time that Buyer is in material breach of, any
 covenant, representation or warranty hereunder such that the conditions set forth in Section 9.3(a)
 or Section 9.3(b) would not be satisfied;

                 (f)     by written notice from Sellers to Buyer, if all of the conditions set forth in
 Section 9.1 and 9.2 have been satisfied (other than conditions that by their nature are to be satisfied
 at the Closing, but subject to the satisfaction or waiver of such conditions at the Closing) or waived
 and Buyer fails to complete the Closing at the time required by Section 4.1;

                (g)    by written notice from Sellers to Buyer, if any Seller or the board of
 directors of BBBY determines that proceeding with the transactions contemplated by this
 Agreement or failing to terminate this Agreement would be inconsistent with the board’s fiduciary
 duties under applicable Law;

                 (h)    by written notice of either Buyer or Sellers, if any Seller consummates one
 or more Alternative Transactions with one or more Persons other than Buyer. For the avoidance
 of doubt, a transaction entered into by any Sellers that is not an Alternative Transaction shall not
 entitle Buyer to terminate this Agreement pursuant to this Section 10.1(h);

                (i)     by Buyer:

                        (i)    if one or more of the Bankruptcy Cases is dismissed or converted to
        a liquidation proceeding under Chapter 7 of the Bankruptcy Code;

                      (ii)   If the Bankruptcy Court enters any Order that would reasonably be
        expect to prevent, impede or materially delay the consummation of the transactions
        contemplated hereby in accordance with the terms hereof; or

                     (iii)  if any creditor of any Seller obtains a final and unstayed Order of
        the Bankruptcy Court granting relief from the stay to foreclose on any portion of the
        Acquired Assets.

                (j)    by written notice from Buyer to Sellers, if Buyer is not the Successful
 Bidder or the Backup Bidder at the Auction.

        Section 10.2    Effect of Termination.

                (a)     In the event of termination of this Agreement pursuant to Section 10.1, this
 Agreement shall forthwith become void and no Party or any of its partners, officers, directors,
 managers or equityholders will have any Liability under this Agreement; provided that Section 3.2,
 Section 8.2(b), this Section 10.2 and Article XII shall survive any such termination; provided


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 further that no termination will relieve any Party from any Liability for damages, losses, costs or
 expenses (which the Parties acknowledge and agree shall not be limited to reimbursement of
 expenses or out-of-pocket costs, and would include the benefits of the transactions contemplated
 by this Agreement lost by the Parties (taking into consideration all relevant matters, including other
 combination opportunities and the time value of money), which shall be deemed in such event to
 be damages of the applicable Party(s)) resulting from any Willful Breach of this Agreement prior
 to the date of such termination (which, for the avoidance of doubt, will be deemed to include any
 failure by any Party to consummate the Closing if and when it is obligated to do so hereunder).
 Subject to Section 12.12, nothing in this Section 10.2 will be deemed to impair the right of any
 Party to be entitled to specific performance or other equitable remedies to enforce specifically the
 terms and provisions of this Agreement.

                 (b)    If this Agreement is terminated other than (i) by Sellers pursuant to
 Section 10.1(c) (if termination pursuant to Section 10.1(c) would be unavailable to Buyer) or
 (ii) pursuant to Section 10.1(a), Section 10.1(d), or Section 10.1(f), then Sellers (jointly and
 severally) shall pay Buyer by wire transfer of immediately available funds within three Business
 Days following such termination of this Agreement an amount equal to the reasonable and
 documented out-of-pocket costs and expenses (including fees and expenses of its counsel and
 financial advisor) incurred by Buyer in connection with the negotiation, diligence, execution,
 performance and enforcement of this Agreement (“Expense Reimbursement”), which amount shall
 not exceed $430,000. The Expense Reimbursement shall be treated as an administrative expense
 in the Bankruptcy Case under Section 503 and Section 507(b) of the Bankruptcy Code. For the
 avoidance of doubt, the Expense Reimbursement, if payable pursuant to this Section 10.2(b), shall
 be in addition to the return of the Deposit and payment of the Breakup Fee, in each case, to the
 extent payable to Buyer pursuant to Section 3.2 and Section 10.2(c), respectively.

                 (c)    In consideration for Buyer having expended considerable time and expense
 in connection with this Agreement and the negotiation thereof, Sellers (jointly and severally) shall
 pay to Buyer a break-up fee in an amount equal to $430,000 (the “Breakup Fee”) plus the Expense
 Reimbursement to an account designated by Buyer in writing to Sellers, (i) in the event that this
 Agreement is terminated pursuant to Section 10.1(e) or Section 10.1(h) or (ii) in the event this
 Agreement is otherwise terminated pursuant to Section 10.1(g), Section 10.1(i), or Section 10.1(j)
 or terminated by Sellers pursuant to Section 10.1(c) and, solely in the case of this clause (ii), at
 any time within 12 months following the termination of this Agreement an Alternative Transaction
 shall have been consummated (an “Alternative Transaction Trigger”). Such Breakup Fee shall be
 due and payable (x) within five Business Days after the termination of this Agreement by Buyer
 in the case of the foregoing clause (i), and (y) simultaneously with the earliest to occur of any
 Alternative Transaction Trigger in the case of the foregoing clause (ii). The Breakup Fee shall be
 treated as an administrative expense in the Bankruptcy Case under Section 503 and Section 507(b)
 of the Bankruptcy Code. For the avoidance of doubt, the Breakup Fee, if payable pursuant to this
 Section 10.2(c), shall be in addition to the return of the Deposit and payment of the Expense
 Reimbursement, in each case, to the extent payable to Buyer pursuant to Section 3.2 and
 Section 10.2(b), respectively.

                 (d)    Each of the Parties acknowledges and agrees that the agreements contained
 in this Section 10.2 are an integral part of this Agreement and that the Expense Reimbursement
 and the Breakup Fee are not a penalty, but rather represent liquidated damages in a reasonable


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 amount that will reasonably compensate Buyer in the circumstances in which such Expense
 Reimbursement and/or Breakup Fee, as applicable, is payable for the efforts and resources
 expended and opportunities foregone by Buyer while negotiating and pursuing this Agreement and
 in reasonable reliance on this Agreement and on the reasonable expectation of the consummation
 of the transactions contemplated hereby, which amount would otherwise be impossible to calculate
 with precision.

                (e)      If Sellers fail to take any action necessary to cause the delivery of the
 Breakup Fee and/or the Expense Reimbursement under circumstances where Buyer is entitled to
 the Breakup Fee and/or the Expense Reimbursement and, in order to obtain such Breakup Fee
 and/or Expense Reimbursement, Buyer commences a suit which results in a judgment in favor of
 Buyer, Sellers (jointly and severally) shall pay to Buyer, in addition to the Breakup Fee and/or the
 Expense Reimbursement, an amount in cash equal to the costs and expenses (including attorney’s
 and financial advisor fees) incurred by Buyer in connection with such suit.

              (f)    Pursuant to the Bidding Procedures Order, the claim of Buyer in respect of
 the Expense Reimbursement or the Breakup Fee is and constitutes an allowed administrative
 expense claim against Sellers under sections 503 and 507(b) of the Bankruptcy Code in the
 Bankruptcy Case.

                                           ARTICLE XI

                                              TAXES

         Section 11.1 Transfer Taxes. Any sales, use, excise, purchase, transfer, franchise, deed,
 fixed asset, stamp, documentary stamp, value added, recordation, license, conveyance, use and
 other similar Taxes imposed on or with respect to the sale of the Acquired Assets or the assumption
 of the Assumed Liabilities under this Agreement or the transactions contemplated hereby
 (“Transfer Taxes”) shall be borne and timely paid fifty percent (50%) by Sellers and fifty percent
 (50%) by Buyer; provided that Buyer shall not be liable for more than $100,000 of Transfer Taxes
 and any Transfer Taxes in excess of $200,000 (such that, in the absence of this proviso, Buyer
 would be liable for more than $100,000 of such Transfer Taxes) shall be borne by Sellers. Buyer
 shall timely file all Tax Returns related to any Transfer Taxes. Buyer and Sellers will use
 commercially reasonable efforts and cooperate in good faith to exempt the transactions
 contemplated hereby from any Transfer Taxes to the extent allowed under applicable Law.

         Section 11.2 Periodic Taxes. For purposes of this Agreement, with respect to any
 Acquired Asset, Sellers and Buyer shall apportion the liability for real and personal property
 Taxes, ad valorem Taxes, and similar Taxes (other than Transfer Taxes) (“Periodic Taxes”) for
 Straddle Periods applicable to such Acquired Asset in accordance with this Section 11.2. The
 Periodic Taxes described in this Section 11.2 shall be apportioned between Sellers and Buyer as
 of the Closing Date, with Buyer liable for that portion of the Periodic Taxes for a Straddle Period
 (which portion of such Taxes shall for purposes of this Agreement be deemed attributable to the
 Post-Closing Tax Period) equal to the Periodic Taxes for such Straddle Period multiplied by a
 fraction, the numerator of which is the number of days remaining in such Straddle Period after the
 Closing Date, and the denominator of which is the total number of days in such entire Straddle
 Period. Sellers shall be liable for that portion of the Periodic Taxes for a Straddle Period (which


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 portion of such Taxes shall for purposes of this Agreement be deemed attributable to the Pre-
 Closing Tax Period) equal to the Periodic Taxes for such Straddle Period multiplied by a fraction,
 the numerator of which is the number of days in the portion of such Straddle Period ending on
 (and including) the Closing Date, and the denominator of which is the total number of days in such
 entire Straddle Period. The party hereto responsible under applicable Law for paying a Tax
 described in this Section 11.2 shall be responsible for administering the payment of such Tax.

         Section 11.3 Reimbursements. Sellers, on the one hand, or Buyer on the other hand, as
 the case may be (the “Reimbursing Party”) shall provide reimbursement for any Tax paid by the
 other (the “Paying Party”), all or a portion of which is the responsibility of the Reimbursing Party
 in accordance with the terms of this Agreement.

         Section 11.4 Cooperation. Buyer and Sellers shall reasonably cooperate, as and to the
 extent reasonably requested by the other Party, in connection with the preparation or filing of Tax
 Returns, the determination of any liability in respect of Taxes or the right to any refund, credit, or
 prepayment in respect of Taxes, and any Tax Proceeding.

         Section 11.5 Preparation of Tax Returns and Payment of Taxes. Buyer shall prepare and
 timely file all non-income Tax Returns solely relating to the Acquired Assets for any Straddle
 Period. Buyer shall prepare such Tax Returns consistent with past practice and shall provide Sellers
 with a draft of such Tax Returns at least 30 days (or such shorter period as is reasonable taking
 into account the Tax period and the nature of the relevant Tax Return or other relevant
 circumstances) prior to the filing of any such Tax Return. Buyer shall incorporate any changes
 reasonably requested by Sellers with respect to such Tax Returns if such Tax Returns could
 materially and adversely affect Sellers in a Pre-Closing Tax Period or reflect a Tax that is borne
 by Sellers pursuant to this Agreement or otherwise. Buyer shall be responsible for paying any
 Taxes reflected on any Tax Return that Buyer is obligated to prepare and file under this
 Section 11.5, except to the extent such Taxes constitute an Excluded Tax.


                                           ARTICLE XII

                                        MISCELLANEOUS

         Section 12.1 Non-Survival of Representations and Warranties and Certain Covenants;
 Certain Waivers. Each of the representations and warranties and the covenants and agreements (to
 the extent such covenant or agreement contemplates or requires performance by such Party prior
 to the Closing) of the Parties set forth in this Agreement or in any other document contemplated
 hereby, or in any certificate delivered hereunder or thereunder, will terminate effective
 immediately as of the Closing such that no claim for breach of any such representation, warranty,
 covenant or agreement, detrimental reliance or other right or remedy (whether in contract, in tort
 or at law or in equity) may be brought with respect thereto after the Closing. Each covenant and
 agreement that explicitly contemplates performance after the Closing, will, in each case and to
 such extent, expressly survive the Closing in accordance with its terms, and if no term is specified,
 then for five years following the Closing Date, and nothing in this Section 12.1 will be deemed to
 limit any rights or remedies of any Person for breach of any such surviving covenant or agreement.
 The Parties acknowledge and agree that the agreements contained in this Section 12.1 (a) require


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 performance after the Closing to the maximum extent permitted by applicable Law and will
 survive the Closing for five years and (b) are an integral part of the transactions contemplated
 hereby and that, without the agreements set forth in this Section 12.1, none of the Parties would
 enter into this Agreement.

         Section 12.2 Expenses. Whether or not the Closing takes place, except as otherwise
 provided herein (including, for the avoidance of doubt, Section 10.2), all fees, costs and expenses
 (including fees, costs and expenses of Advisors) incurred in connection with the negotiation of this
 Agreement and the other agreements contemplated hereby, the performance of this Agreement and
 the other agreements contemplated hereby and the consummation of the transactions contemplated
 hereby and thereby will be paid by the Party incurring such fees, costs and expenses; it being
 acknowledged and agreed that Sellers and Buyers shall each bear 50% of any reasonable fees and
 expenses of the Escrow Agent, all Transfer Taxes will be governed by Section 11.1, and all Cure
 Costs will be governed by Section 2.4(c) and Section 2.5.

         Section 12.3 Notices. Except as otherwise expressly provided herein, all notices,
 demands and other communications to be given or delivered under or by reason of the provisions
 of this Agreement will be in writing and will be deemed to have been given (a) when personally
 delivered, (b) when transmitted by electronic mail (having obtained electronic delivery
 confirmation thereof), (c) the day following the day on which the same has been delivered prepaid
 to a reputable national overnight air courier service or (d) the third Business Day following the
 day on which the same is sent by certified or registered mail, postage prepaid, in each case, to the
 respective Party at the number, electronic mail address or street address, as applicable, set forth
 below, or at such other number, electronic mail address or street address as such Party may specify
 by written notice to the other Party.

                Notices to Buyer:

                Overstock.com, Inc.
                799 W. Coliseum Way
                Midvale, UT 84047
                Attention:    Chief Legal Officer and Corporate Secretary
                Email:        gnickle@overstock.com

                with a copy to (which shall not constitute notice):

                Wachtell, Lipton, Rosen & Katz
                51 West 52nd Street
                New York, NY 10019
                Attn:         Scott K. Charles
                              Michael S. Benn
                              Gordon S. Moodie
                E-Mail:       SKCharles@wlrk.com
                              MSBenn@wlrk.com
                              GSMoodie@wlrk.com




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                Notices to Sellers:

                Bed Bath & Beyond Inc.
                650 Liberty Avenue
                Union, New Jersey 07083
                Attention:    EVP, Chief Legal Officer and Corporate Secretary
                E-mail:       david.kastin@bedbath.com

                with copies to (which shall not constitute notice):

                Kirkland & Ellis LLP
                601 Lexington Avenue
                New York, NY 10022
                Attention:    Josh Sussberg, P.C.
                              Steve Toth
                              Daniel Elizondo
                              Emily Geier
                              Derek Hunter
                Email:        jsussberg@kirkland.com
                              steve.toth@kirkland.com
                              daniel.elizondo@kirkland.com
                              emily.geier@kirkland.com
                              derek.hunter@kirkland.com

         Section 12.4 Binding Effect; Assignment. This Agreement shall be binding upon Buyer
 and, subject to the terms of the Bidding Procedures Order (with respect to the matters covered
 thereby) and the entry and terms of the Sale Order, Sellers, and shall inure to the benefit of and be
 so binding on the Parties and their respective successors and permitted assigns, including any
 trustee or estate representative appointed in the Bankruptcy Cases or any successor Chapter 7
 cases; provided that neither this Agreement nor any of the rights or obligations hereunder may be
 assigned or delegated without the prior written consent of Buyer and Sellers, and any attempted
 assignment or delegation without such prior written consent shall be null and void; provided,
 however, that the rights of Buyer under this Agreement may be assigned by Buyer, in whole or in
 part, without the prior written consent of any Seller, to one or more of Buyer’s Affiliates so long
 as Buyer shall continue to remain obligated in full hereunder.

         Section 12.5 Amendment and Waiver. Any provision of this Agreement or the
 Disclosure Schedules or exhibits hereto may be (a) amended only in a writing signed by Buyer
 and Sellers that are party to this Agreement or (b) waived only in a writing executed by the Person
 against which enforcement of such waiver is sought. No waiver of any provision hereunder or any
 breach or default thereof will extend to or affect in any way any other provision or prior or
 subsequent breach or default.

         Section 12.6 Third Party Beneficiaries. Except as otherwise expressly provided herein,
 nothing expressed or referred to in this Agreement will be construed to give any Person other than
 the Parties any legal or equitable right, remedy, or claim under or with respect to this Agreement
 or any provision of this Agreement.


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         Section 12.7 Non-Recourse. This Agreement may only be enforced against, and any
 Proceeding based upon, arising out of or related to this Agreement may only be brought against,
 the Persons that are expressly named as parties to this Agreement. Except to the extent named as
 a party to this Agreement, and then only to the extent of the specific obligations of such parties set
 forth in this Agreement, no past, present or future shareholder, member, partner, manager, director,
 officer, employee, Affiliate, agent or Advisor of any Party will have any Liability (whether in
 contract, tort, equity or otherwise) for any of the representations, warranties, covenants,
 agreements, or other obligations or Liabilities of any of the Parties with respect to the matters set
 forth in this Agreement or for any Agreement Dispute.

         Section 12.8 Severability. Whenever possible, each provision of this Agreement will be
 interpreted in such manner as to be effective and valid under applicable Law, but if any provision
 of this Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction,
 such provision will be ineffective only to the extent of such prohibition or invalidity in such
 jurisdiction, without invalidating the remainder of such provision or the remaining provisions of
 this Agreement or in any other jurisdiction.

         Section 12.9 Construction. The language used in this Agreement will be deemed to be
 the language chosen by the Parties to express their mutual intent, and no rule of strict construction
 will be applied against any Person. The headings of the sections and paragraphs of this Agreement
 have been inserted for convenience of reference only and will in no way restrict or otherwise
 modify any of the terms or provisions hereof.

         Section 12.10 Disclosure Schedules. The Disclosure Schedules have been arranged for
 purposes of convenience in separately numbered sections corresponding to the sections of this
 Agreement; provided that each section or subsection of the Disclosure Schedules will be deemed
 to incorporate by reference any information disclosed against any representation or warranty in
 any other section or subsection of the Disclosure Schedules to the extent it is reasonably apparent
 on the face of such disclosure that it is applicable to qualify such representation and warranty.
 Capitalized terms used in the Disclosure Schedules and not otherwise defined therein have the
 meanings given to them in this Agreement. The specification of any dollar amount or the inclusion
 of any item in the representations and warranties contained in this Agreement, the Disclosure
 Schedules or the attached exhibits is not intended to imply that the amounts, or higher or lower
 amounts, or the items so included, or other items, are or are not required to be disclosed (including
 whether such amounts or items are required to be disclosed as material or threatened) or are within
 or outside of the ordinary course of business consistent with past practice, and no Party will use
 the fact of the setting of the amounts or the fact of the inclusion of any item in this Agreement, the
 Disclosure Schedules or exhibits in any dispute or controversy between the Parties as to whether
 any obligation, item or matter not set forth or included in this Agreement, the Disclosure Schedules
 or exhibits is or is not required to be disclosed (including whether the amount or items are required
 to be disclosed as material or threatened) or are within or outside of the ordinary course of business
 consistent with past practice. In addition, matters reflected in the Disclosure Schedules are not
 necessarily limited to matters required by this Agreement to be reflected in the Disclosure
 Schedules. Such additional matters are set forth for informational purposes only and do not
 necessarily include other matters of a similar nature. No information set forth in the Disclosure
 Schedules will be deemed to broaden in any way the scope of the Parties’ representations and
 warranties. The information contained in this Agreement, in the Disclosure Schedules and exhibits


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 hereto is disclosed solely for purposes of this Agreement, and no information contained herein or
 therein will be deemed to be an admission by any Party to any third party of any matter whatsoever,
 including any violation of Law or breach of Contract.

         Section 12.11 Complete Agreement. This Agreement, together with the Confidentiality
 Agreement and any other agreements expressly referred to herein (including the Transaction
 Documents) or therein, contains the entire agreement of the Parties respecting the sale and
 purchase of the Acquired Assets and the Assumed Liabilities and the transactions contemplated
 by this Agreement and supersedes all prior agreements among the Parties respecting the sale and
 purchase of the Acquired Assets and the Assumed Liabilities and the transactions contemplated
 by this Agreement. In the event an ambiguity or question of intent or interpretation arises with
 respect to this Agreement, the terms and provisions of the execution version of this Agreement
 will control and prior drafts of this Agreement and the documents referenced herein will not be
 considered or analyzed for any purpose (including in support of parol evidence proffered by any
 Person in connection with this Agreement), will be deemed not to provide any evidence as to the
 meaning of the provisions hereof or the intent of the Parties with respect hereto and will be deemed
 joint work product of the Parties.

         Section 12.12 Specific Performance. The Parties agree that irreparable damage, for which
 monetary relief, even if available, would not be an adequate remedy, would occur in the event that
 any provision of this Agreement is not performed in accordance with its specific terms or is
 otherwise breached, including if any of the Parties fails to take any action required of it hereunder
 to consummate the transactions contemplated by this Agreement. It is accordingly agreed that
 (a) the Parties will be entitled to an injunction or injunctions, specific performance or other
 equitable relief to prevent breaches of this Agreement and to enforce specifically the terms and
 provisions hereof in the courts described in Section 12.13 without proof of damages or otherwise,
 this being in addition to any other remedy to which they are entitled under this Agreement, and
 (b) the right of specific performance and other equitable relief is an integral part of the transactions
 contemplated by this Agreement and without that right, neither Sellers nor Buyer would have
 entered into this Agreement. The Parties acknowledge and agree that any Party pursuing an
 injunction or injunctions or other Order to prevent breaches of this Agreement and to enforce
 specifically the terms and provisions of this Agreement in accordance with this Section 12.12 will
 not be required to provide any bond or other security in connection with any such Order. The
 remedies available to the Parties pursuant to this Section 12.12 will be in addition to any other
 remedy to which they were entitled at law or in equity, and the election to pursue an injunction or
 specific performance will not restrict, impair or otherwise limit any Party from seeking to collect
 or collecting damages. If, prior to the Outside Date, any Party brings any action, in each case in
 accordance with Section 12.13, to enforce specifically the performance of the terms and provisions
 hereof by any other Party, the Outside Date will automatically be extended (i) for the period during
 which such action is pending, plus three Business Days or (ii) by such other time period established
 by the court presiding over such action, as the case may be.

        Section 12.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees
 that any Proceeding of any kind whatsoever, including a counterclaim, cross-claim, or defense,
 regardless of the legal theory under which any Liability or obligation may be sought to be imposed,
 whether sounding in contract or in tort or under statute, or whether at law or in equity, or otherwise
 under any legal or equitable theory, that may be based upon, arising out of, or related to this


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 Agreement or the negotiation, execution, or performance of this Agreement or the transactions
 contemplated hereby and any questions concerning the construction, interpretation, validity and
 enforceability of this Agreement (each, an “Agreement Dispute”) brought by any other Party or its
 successors or assigns will be brought and determined only in (a) the Bankruptcy Court and any
 federal court to which an appeal from the Bankruptcy Court may be validly taken or (b) if the
 Bankruptcy Court is unwilling or unable to hear such Proceeding, in the United States federal
 courts for the Southern District of New York (the “Chosen Courts”), and each of the Parties hereby
 irrevocably submits to the exclusive jurisdiction of the Chosen Courts for itself and with respect
 to its property, generally and unconditionally, with regard to any Agreement Dispute. Each of the
 Parties agrees not to commence any Agreement Dispute except in the Chosen Courts, other than
 Proceedings in any court of competent jurisdiction to enforce any Order, decree or award rendered
 by any Chosen Courts, and no Party will file a motion to dismiss any Agreement Dispute filed in
 a Chosen Court on any jurisdictional or venue-related grounds, including the doctrine of forum
 non-conveniens. The Parties irrevocably agree that venue would be proper in any of the Chosen
 Court, and hereby irrevocably waive any objection that any such court is an improper or
 inconvenient forum for the resolution of any Agreement Dispute. Each of the Parties further
 irrevocably and unconditionally consents to service of process in the manner provided for notices
 in Section 12.3. Nothing in this Agreement will affect the right of any Party to serve process in
 any other manner permitted by Law.

        Section 12.14 Governing Law; Waiver of Jury Trial.

               (a)     Except to the extent the mandatory provisions of the Bankruptcy Code
 apply, this Agreement and any Agreement Dispute will be governed by and construed in
 accordance with the internal Laws of the State of Delaware applicable to agreements executed and
 performed entirely within such State without regards to conflicts of law principles of the State of
 Delaware or any other jurisdiction that would cause the Laws of any jurisdiction other than the
 State of Delaware to apply.

            (b)  EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
 AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT
 ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
 BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
 AGREEMENT DISPUTE. EACH OF THE PARTIES AGREES AND CONSENTS THAT ANY
 SUCH AGREEMENT DISPUTE WILL BE DECIDED BY COURT TRIAL WITHOUT A JURY
 AND THAT THE PARTIES MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF
 THIS AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF
 THE PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.
 EACH PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
 REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
 NOT, IN THE EVENT OF ANY AGREEMENT DISPUTE, SEEK TO ENFORCE THE
 FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
 HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
 THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

         Section 12.15 No Right to Set Off. Buyer, on its own behalf and on behalf the Buyer Group
 and its and their respective successors and permitted assigns, hereby waives any rights of set-off,


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 netting, offset, recoupment or similar rights that Buyer, any member of the Buyer Group or any of
 its or their respective successors and permitted assigns has or may have with respect to the payment
 of the Purchase Price or any other payments to be made by Buyer pursuant to this Agreement or
 any other document or instrument delivered by Buyer in connection herewith.

         Section 12.16 Counterparts and PDF. This Agreement and any other agreements referred
 to herein or therein, and any amendments hereto or thereto, may be executed in multiple
 counterparts, any one of which need not contain the signature of more than one party hereto or
 thereto, but all such counterparts taken together will constitute one and the same instrument. Any
 counterpart, to the extent signed and delivered by means of a .PDF or other electronic transmission,
 will be treated in all manner and respects as an original Contract and will be considered to have
 the same binding legal effects as if it were the original signed version thereof delivered in person.
 Minor variations in the form of the signature page to this Agreement or any agreement or
 instrument contemplated hereby, including footers from earlier versions of this Agreement or any
 such other document, will be disregarded in determining the effectiveness of such signature. At
 the request of any party or pursuant to any such Contract, each other party hereto or thereto will
 re-execute original forms thereof and deliver them to all other parties. No party hereto or to any
 such Contract will raise the use of a .PDF or other electronic transmission to deliver a signature or
 the fact that any signature or Contract was transmitted or communicated through the use of PDF
 or other electronic transmission as a defense to the formation of a Contract and each such party
 forever waives any such defense.

         Section 12.17 Publicity. Neither Sellers nor Buyer shall issue any press release or public
 announcement concerning this Agreement or the transactions contemplated hereby without
 obtaining the prior written approval of the other Party, which approval will not be unreasonably
 conditioned, withheld or delayed, unless, in the reasonable judgment of Buyer or Sellers,
 disclosure is otherwise required by applicable Law or by the Bankruptcy Court with respect to
 filings to be made with the Bankruptcy Court in connection with this Agreement or by the
 applicable rules of any stock exchange on which Buyer or Sellers (or their respective Affiliates)
 lists securities; provided that the Party intending to make such release shall use its reasonable
 efforts consistent with such applicable Law or Bankruptcy Court requirement to consult with the
 other Party with respect to the text thereof; provided further that the restrictions set forth herein
 shall not apply to the extent the information contained therein substantially reiterates (or is
 substantially consistent with) previous releases, public disclosures or public statements made in
 compliance with this Section 12.17.

         Section 12.18 Bulk Sales Laws. The Parties intend that pursuant to section 363(f) of the
 Bankruptcy Code, the transfer of the Acquired Assets shall be free and clear of any Encumbrances
 in the Acquired Assets including any liens or claims arising out of the bulk transfer laws except
 Permitted Encumbrances, and the Parties shall take such steps as may be necessary or appropriate
 to so provide in the Sale Order. In furtherance of the foregoing, each Party hereby waives
 compliance by the Parties with the “bulk sales,” “bulk transfers” or similar Laws and all other
 similar Laws in all applicable jurisdictions in respect of the transactions contemplated by this
 Agreement.

         Section 12.19 Time of Essence. With regard to all dates and time periods set forth or
 referred to in this Agreement, time is of the essence.


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         Section 12.20 Sellers’ Representative. Each Party agrees that BBBY has the power and
 authority to unilaterally act on behalf of all or any of Sellers for the purposes specified under this
 Agreement. Such power will include the power to make all decisions, actions, Consents and
 determinations on behalf of Sellers, including to make any waiver of any Closing condition or
 agree to any amendment to this Agreement. No Seller shall have any right to object, dissent, protest
 or otherwise contest the same. Buyer shall be entitled to rely on any action or omission taken by
 BBBY on behalf of Sellers.

                                      [Signature pages follow.]




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         IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and
 delivered by their duly authorized representatives, all as of the Effective Date.

                                        Bed Bath & Beyond Inc.


                                        By:
                                                Name:
                                                Title:




                      [Signature Page to Asset Purchase Agreement]
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                               Overstock.com, Inc.


                               By:
                                      Name:    [●]
                                      Title:   [●]




                    [Signature Page to Asset Purchase Agreement]
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                                   ANNEX A
                                Subsidiary Sellers




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                                  EXHIBIT A
                               Form of Sale Order




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                                     EXHIBIT B
           Form of Bill of Sale and Assignment and Assumption Agreement




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                                     EXHIBIT C
                Form of Intellectual Property Assignment Agreement




                                    Exhibit C
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                                   Exhibit B

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                                                    Confidential; Subject to FRE 408 & Equivalents

     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Emily E. Geier, P.C. (admitted pro hac vice)
     Derek I. Hunter (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     Telephone: (212) 446-4800
     Facsimile: (212) 446-4900
     joshua.sussberg@kirkland.com
     emily.geier@kirkland.com
     derek.hunter@kirkland.com

     COLE SCHOTZ P.C.
     Michael D. Sirota, Esq.
     Warren A. Usatine, Esq.
     Felice R. Yudkin, Esq.
     Court Plaza North, 25 Main Street
     Hackensack, New Jersey 07601
     Telephone: (201) 489-3000
     msirota@coleschotz.com
     wusatine@coleschotz.com
     fyudkin@coleschotz.com

     Co-Counsel for Debtors and Debtors in Possession


     In re:                                                             Chapter 11

     BED BATH & BEYOND INC., et al.,                                    Case No. 23-13359 (VFP)

              Debtors.1                                                 (Jointly Administered)



           ORDER (I) APPROVING THE SALE OF ACQUIRED ASSETS
       FREE AND CLEAR OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS,
      AND ENCUMBRANCES, (II) AUTHORIZING THE DEBTORS TO ENTER
   INTO AND PERFORM THEIR OBLIGATIONS UNDER THE STALKING HORSE
 PURCHASE AGREEMENT, (III) APPROVING ASSUMPTION AND ASSIGNMENT OF
  CERTAIN EXECUTORY CONTRACTS, AND (IV) GRANTING RELATED RELIEF



 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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                      Claims, Liens, Rights, Interests, and Encumbrances, (II) Authorizing the
                      Debtors to Enter Into and Perform Their Obligations under the Stalking
                      Horse Purchase Agreement, (III) Approving Assumption and Assignment
                      of Certain Executory Contracts, and (IV) Granting Related Relief

        The relief set forth on the following pages, numbered [●] ([●]) through [●] ([●]), is

 ORDERED.




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                          Horse Purchase Agreement, (III) Approving Assumption and Assignment
                          of Certain Executory Contracts, and (IV) Granting Related Relief


         Upon the motion (the “Motion”) [Docket No. 29], of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), for entry of an order (this “Sale Order”)

 (a) authorizing and approving the entry into and performance under the terms and conditions of

 that certain Asset Purchase Agreement, substantially in the form attached hereto as Exhibit 1 (as

 may be amended, supplemented, restated, or otherwise modified from time to time, the “Stalking

 Horse Purchase Agreement”),2 by and among certain of the Debtors (the “Sellers”) and

 Overstock.com, Inc., a corporation organized under the laws of the State of Delaware

 (the “Purchaser”), and all other Transaction Documents, (b) authorizing and approving the sale

 (collectively, and including all actions taken or required to be taken in connection with the

 implementation and consummation of the Stalking Horse Purchase Agreement, the “Sale”) of

 those assets set forth in Section 2.1 of the Stalking Horse Purchase Agreement (the “Acquired

 Assets”), on an “as is, where is” basis, free and clear of all liens, claims, encumbrances, and other

 interests, except to the extent set forth in the Stalking Horse Purchase Agreement, and the

 assumption of certain assumed liabilities set forth in Section 2.3 of the Stalking Horse Purchase

 Agreement (the “Assumed Liabilities”) pursuant to the Stalking Horse Purchase Agreement upon

 the closing of the Sale (the “Closing”), (c) authorizing the assumption and assignment of executory

 contracts set forth on Exhibit 2 attached hereto, as the same may be subsequently modified



 2   Capitalized terms used but not otherwise defined herein have the meaning given to such terms in the Stalking
     Horse Purchase Agreement and the Bidding Procedures Order, as applicable.


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                        Horse Purchase Agreement, (III) Approving Assumption and Assignment
                        of Certain Executory Contracts, and (IV) Granting Related Relief

 pursuant to the terms of the Stalking Horse Purchase Agreement (each, an “Assigned Contract,”

 and, collectively, the “Assigned Contracts”), upon the Closing, subject to the cure of any defaults

 arising under any Assigned Contract in accordance with the Stalking Horse Purchase Agreement

 (the “Cure Costs”), and (d) granting related relief, all as more fully set forth in the Motion; and

 this Court having entered the Order (I) Approving the Auction and Bidding Procedures,

 (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and an Auction,

 (IV) Approving the Form and Manner of Notice Thereof, and (V) Granting Related Relief

 [Docket No. 92] (the “Bidding Procedures Order”); and the Debtors having conducted an auction

 (the “Auction”) for the Acquired Assets; and the Debtors having determined that the Purchaser has

 submitted the highest or otherwise best bid for the Acquired Assets and determined that the

 Purchaser is the Successful Bidder [and that [●] is the Backup Bidder (as defined in the Bidding

 Procedures),] in accordance with the Bidding Procedures; and the Court having held a hearing on

 June 27, 2023 (the “Sale Hearing”), at which time all interested parties were offered an opportunity

 to be heard with respect to the Motion; and the Court having reviewed and considered the Motion,

 the Stalking Horse Purchase Agreement, and any and all objections to the Sale, the Stalking Horse

 Purchase Agreement and the other Transaction Documents filed in accordance with the Bidding

 Procedures Order; and the Court having heard statements of counsel and the evidence presented

 in support of the relief requested in the Motion at the Sale Hearing; and upon the First Day

 Declaration, the Kurtz Declaration, and the Frejka Declaration; and it appearing that due notice of

 the Motion, the Sale Hearing, the Stalking Horse Purchase Agreement, and the Sale has been
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 provided; and it appearing that the relief requested in the Motion is in the best interests of the

 Debtors, their estates, their stakeholders, and all other parties in interest; and it appearing that the

 Court has jurisdiction over this matter; and it appearing that the legal and factual bases set forth in

 the Motion and at the Sale Hearing establish just cause for the relief granted herein; and after due

 deliberation, it is hereby


           FOUND, CONCLUDED, AND DETERMINED THAT:

                               Jurisdiction, Venue, and Final Order

           A.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334. This is a core

 proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this District and in this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409.

           B.    This Sale Order constitutes a final and appealable order within the meaning of 28

 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent

 necessary under Bankruptcy Rule 9014 and Federal Rule of Civil Procedure 54(b), as made

 applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay

 in the implementation of this Sale Order, and expressly directs entry of judgment as set forth

 herein.

           C.    The findings and conclusions set forth herein constitute the Court’s findings of fact

 and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

 pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact constitute
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 conclusions of law, they are adopted as such. To the extent any of the following conclusions of

 law constitute findings of fact, they are adopted as such.


                         Notice of the Motion, Auction, Sale Hearing,
               Stalking Horse Purchase Agreement and Sale, and the Cure Costs


        D.      As evidenced by the First Day Declaration, the Kurtz Declaration, the Frejka

 Declaration, and the affidavits of service and publication previously filed with this Court, proper,

 timely, adequate, and sufficient notice of the Motion, the Auction, the Sale Hearing, the Stalking

 Horse Purchase Agreement, and the Sale has been provided in accordance with sections 102(1),

 105, 363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007 and

 9014. The Debtors have complied with all obligations to provide notice of the Motion, the

 Auction, the Sale Hearing, the Stalking Horse Purchase Agreement, and the Sale as required by

 the Bidding Procedures Order. The foregoing notice was good, sufficient, and appropriate under

 the circumstances, and no other or further notice of the Motion, the Auction, the Sale Hearing, the

 Stalking Horse Purchase Agreement, or the Sale is required.

        E.      A reasonable opportunity to object or to be heard regarding the relief requested in

 the Motion was afforded to all interested persons and entities.

        F.      In accordance with the Bidding Procedures Order, the Debtors have served a notice

 of their intent to assume and assign the Assigned Contracts and of the Cure Payments upon each

 counterparty to an Assigned Contract. The service and provision of such notice was good,

 sufficient, and appropriate under the circumstances and no further notice need be given in respect
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 of assumption and assignment of the Assigned Contracts or establishing Cure Costs for the

 respective Assigned Contracts. Counterparties to the Assigned Contracts have had an adequate

 opportunity to object to assumption and assignment of the applicable Assigned Contracts and the

 Cure Costs set forth in the notice (including objections related to the adequate assurance of future

 performance and objections based on whether applicable law excuses the counterparty from

 accepting performance by, or rendering performance to, the Purchaser (or its designee) for

 purposes of section 365(c)(1) of the Bankruptcy Code). All objections, responses, or requests for

 adequate assurance, if any, have been resolved, overruled, or denied, as applicable.

                                      Highest and Best Offer


         G.     As demonstrated by the Kurtz Declaration, the evidence proffered or adduced at the

 Sale Hearing, and the representations of counsel made on the record at the Sale Hearing,

 the Debtors conducted a sale process in accordance with, and have, along with the Purchaser,

 complied in all respects with, the Bidding Procedures Order and afforded a full, fair, and

 reasonable opportunity for any interested party to make a higher or otherwise better offer to

 purchase the Acquired Assets and assume the Assumed Liabilities.

         H.     (i) The Debtors and their advisors engaged in a robust and extensive marketing and

 sale process, both prior to the commencement of these chapter 11 cases and through the

 postpetition sale process in accordance with the Bidding Procedures Order and the sound exercise

 of the Debtors’ business judgment, as more fully detailed in the First Day Declaration and the
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 Debtors:                BED BATH & BEYOND INC., et al.
 Case No.                23-13359-VFP
 Caption of Order:       Order (I) Approving the Sale of Acquired Assets Free and Clear of All
                         Claims, Liens, Rights, Interests, and Encumbrances, (II) Authorizing the
                         Debtors to Enter Into and Perform Their Obligations under the Stalking
                         Horse Purchase Agreement, (III) Approving Assumption and Assignment
                         of Certain Executory Contracts, and (IV) Granting Related Relief


 Kurtz Declaration; (ii) the Debtors conducted a fair and open sale process; (iii) the sale process,

 the Bidding Procedures, and the Auction were non-collusive, duly noticed, and provided a full,

 fair, reasonable, and adequate opportunity for any entity that either expressed an interest in

 acquiring the Acquired Assets, or who the Debtors believed may have had an interest in acquiring

 the Acquired Assets, to make an offer to purchase the Debtors’ assets, including, without

 limitation the Acquired Assets; (iv) the Debtors and the Purchaser have negotiated and undertaken

 their roles leading to the entry into the Stalking Horse Purchase Agreement in a diligent, non-

 collusive, fair, reasonable, and good faith manner; and (v) the sale process conducted by the

 Debtors pursuant to the Bidding Procedures Order and the Bidding Procedures resulted in the

 highest or otherwise best value for the Acquired Assets for the Debtors and their estates, was in

 the best interest of the Debtors, their estates, their creditors, and all parties in interest, and any

 other transaction would not have yielded as favorable a result. There is no legal or equitable

 reason to delay entry into the Stalking Horse Purchase Agreement and the transactions

 contemplated therein.

         I.     [The Debtors have also determined, in a valid and sound exercise of their business

 judgment and in consultation with their advisors and the Consultation Parties, that the next highest

 or otherwise best Qualified Bid (as defined in the Bidding Procedures) (the “Designated Back-Up

 Bid”) for all or substantially all of the assets was that of [●] (the “Designated Back-Up Bidder”)].

         J.     Approval of the Stalking Horse Purchase Agreement, and the consummation of the

 Sale contemplated thereby, is in the best interests of the Debtors, their respective creditors, estates,
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 and other parties in interest. The Debtors have demonstrated good, sufficient, and sound business

 reasons and justifications for entering into the Sale and the performance of their obligations under

 the Stalking Horse Purchase Agreement.

        K.     The consummation of the Sale outside a plan of reorganization pursuant to the

 Stalking Horse Purchase Agreement neither impermissibly restructures the rights of the Debtors’

 creditors nor impermissibly dictates the terms of a plan of reorganization or liquidation for the

 Debtors. The Sale does not constitute a sub rosa chapter 11 plan for which approval has been

 sought without the protections that a disclosure statement would afford.

        L.     Entry of an order approving the Stalking Horse Purchase Agreement and all the

 provisions thereof is a necessary condition precedent to Purchaser’s consummation of the Sale,

 as set forth in the Stalking Horse Purchase Agreement.

                               Personally Identifiable Information


        M.     The sale, conveyance, assignment and transfer of Personal Information pursuant to

 the terms of the Stalking Horse Purchase Agreement complies with the terms of the Debtors’

 policies regarding the transfer of such personally identifiable information as of the Petition Date

 and, as a result, consummation of the Sale as set forth in the Stalking Horse Purchase Agreement

 is permitted pursuant to section 363(b)(1)(A) of the Bankruptcy Code. Accordingly, appointment

 of a consumer privacy ombudsman in accordance with sections 363(b)(1) or 332 of the
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 Bankruptcy Code is not required with respect to the Sale and the other transactions contemplated

 by the Stalking Horse Purchase Agreement, all as more fully set forth in the Frejka Declaration.

                                    Good Faith of Purchaser


        N.     The consideration to be paid by the Purchaser under the Stalking Horse Purchase

 Agreement was negotiated at arm’s-length, in good faith and without collusion pursuant to section

 363(m) of the Bankruptcy Code and constitutes reasonably equivalent value and fair and adequate

 consideration for the Acquired Assets. Specifically: (i) the Purchaser recognized that the Debtors

 were free to deal with any other party interested in purchasing the Acquired Assets;

 (ii) the Purchaser complied in all respects with the provisions in the Bidding Procedures Order in

 negotiating and entering into the Stalking Horse Purchase Agreement and the other Transaction

 Documents, and the Stalking Horse Purchase Agreement, the other Transaction Documents, and

 the transactions described therein comply with the Bidding Procedures Order; (iii) the Purchaser

 agreed to subject any bid to the competitive bid procedures set forth in the Bidding Procedures

 Order; (iv) all payments made by the Purchaser in connection with the Sale have been disclosed

 in the Stalking Horse Purchase Agreement; (v) no common identity of directors, officers, or

 controlling stockholders exists among the Purchaser and the Debtors; (vi) the negotiation and

 execution of the Stalking Horse Purchase Agreement and the other Transaction Documents were

 at arm’s-length and in good faith, and at all times each of the Purchaser and the Debtors were

 represented by competent counsel of their choosing; (vii) the Purchaser did not in any way induce
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 or cause the chapter 11 filing of the Debtors; and (viii) the Purchaser has not acted in a collusive

 manner with any person. The Purchaser will be acting in good faith within the meaning of section

 363(m) of the Bankruptcy Code in closing the transactions contemplated by the Stalking Horse

 Purchase Agreement and the other Transaction Documents. The terms and conditions set forth in

 the Stalking Horse Purchase Agreement are fair and reasonable under the circumstances and were

 not entered into for the purpose of, nor do they have the effect of, hindering, delaying, or

 defrauding the Debtors or their creditors under any applicable laws.

        O.     The Debtors, the Purchaser, and each of their respective management, boards of

 directors, members, officers, directors, employees, agents, and representatives, have acted in good

 faith. The Stalking Horse Purchase Agreement and the other Transaction Documents, and each

 of the transactions contemplated therein, were negotiated, proposed, and entered into by the

 Debtors and the Purchaser in good faith, without collusion or fraud, and from arm’s-length

 bargaining positions. The Purchaser is a “good faith purchaser” within the meaning of section

 363(m) of the Bankruptcy Code, and, as such, is entitled to all the protections afforded thereby.

                                     No Fraudulent Transfer


        P.     The consideration provided by the Purchaser pursuant to the Stalking Horse

 Purchase Agreement for its purchase of the Acquired Assets and the assumption of the Assumed

 Liabilities constitutes reasonably equivalent value and fair consideration under the Bankruptcy
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 Code, the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer Act, and under

 the laws of the United States, any state, territory, possession, or the District of Columbia.

        Q.     Neither the Purchaser nor its past, present and future subsidiaries, parents,

 divisions, affiliates, agents, representatives, insurers, attorneys, successors and assigns, nor any

 of its nor their respective directors, managers, officers, employees, shareholders, members,

 agents, representatives, attorneys, contractors, subcontractors, independent contractors, owners,

 insurance companies or partners (collectively, the “Purchaser Parties”) is a continuation of the

 Debtors or their respective estates and no Purchaser Party is holding itself out to the public as a

 continuation of the Debtors or their respective estates and the Sale does not amount to a

 consolidation, merger, or de facto merger of the Purchaser (or any other Purchaser Party) and the

 Debtors.

                                       Validity of Transfer


        R.     The Debtors’ boards of directors have authorized the execution and delivery of the

 Stalking Horse Purchase Agreement and the Sale of the Acquired Assets to the Purchaser (or its

 designee). The Debtors and their affiliates (i) have full corporate power and authority to execute

 and deliver the Stalking Horse Purchase Agreement and all other documents contemplated

 thereby, as applicable, (ii) have all of the power and authority necessary to consummate the Sale,

 and (iii) have taken all action necessary to authorize and approve the Purchase Agreement and to

 consummate the Sale, and no further consents or approvals, other than those expressly provided
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 for in the Purchase Agreement, are required for the Debtors to consummate the transactions

 contemplated by the Stalking Horse Purchase Agreement, except as otherwise set forth in the

 Stalking Horse Purchase Agreement. The Acquired Assets constitute property of the Debtors’

 estates within the meaning of section 541(a) of the Bankruptcy Code and title thereto is presently

 vested in the Debtors’ estates.

                                     Section 363(f) Is Satisfied


        S.      The Sale of the Acquired Assets to the Purchaser (or its designee) and the

 assumption and assignment to the Purchaser (or its designee) of the Assigned Contracts under the

 terms of the Stalking Horse Purchase Agreement meets the applicable provisions of section 363(f)

 of the Bankruptcy Code such that the Sale of the Acquired Assets will be free and clear of any

 and all liens, claims, interests, and encumbrances, and will not subject any Purchaser Party to any

 liability for any liens, claims, interests, and encumbrances whatsoever (including, without

 limitation, under any theory of equitable law, antitrust, or successor or transferee liability), except

 as expressly provided in the Stalking Horse Purchase Agreement with respect to the Assumed

 Liabilities. All holders of liens, claims, interests, and encumbrances who did not object, or

 withdrew their objections to the Sale, are deemed to have consented to the Sale pursuant to section

 363(f)(2) of the Bankruptcy Code, and all holders of liens, claims, interests, and encumbrances

 are adequately protected—thus satisfying section 363(e) of the Bankruptcy Code—by having

 their liens, claims, interests, and encumbrances, if any, attach to the proceeds of the Sale
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 ultimately attributable to the property against or in which they assert liens, claims, interests, and

 encumbrances, or other specifically dedicated funds, in the same order of priority and with the

 same validity, force, and effect that such holder had prior to the Sale, subject to any rights, claims,

 and defenses of the Debtors or their estates, as applicable. Those holders of claims who did object

 and that have an interest in the Acquired Assets fall within one or more of the other subsections

 of section 363(f) of the Bankruptcy Code.

        T.      The transfer of the Acquired Assets to the Purchaser (or its designee) under the

 Stalking Horse Purchase Agreement will be a legal, valid, and effective transfer of all of the legal,

 equitable, and beneficial right, title, and interest in and to the Acquired Assets free and clear of

 all liens, claims, interests, and encumbrances, except as expressly provided in the Purchase

 Agreement with respect to the Assumed Liabilities. The Debtors may sell their interests in the

 Acquired Assets free and clear of all liens, claims, interests, and encumbrances because, in each

 case, one or more of the standards set forth in section 363(f) has been satisfied. The Purchaser

 would not have entered into the Transaction Documents and would not consummate the

 transactions contemplated thereby, including, without limitation, the Sale and the assumption and

 assignment of the Assigned Contracts (i) if the transfer of the Acquired Assets was not free and

 clear of all interest of any kind or nature whatsoever, including, without limitation, rights or claims

 based on any successor, transferee, derivative or vicarious liability or any similar theory and/or

 applicable state or federal law or otherwise or (ii) if the Purchaser or any of its affiliates or

 designees would, or in the future could, be liable for any interests, including, without limitation,
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 rights or claims based on any successor, transferee, derivative or vicarious liability or any similar

 theory and/or applicable state or federal law or otherwise, in each case subject only to the

 Assumed Liabilities. Not transferring the Acquired Assets free and clear of all interests of any

 kind or nature whatsoever, including, without limitation, rights or claims based on any successor,

 transferee, derivative or vicarious liability or any similar theory and/or applicable state or federal

 law or otherwise (subject only to the Assumed Liabilities), would adversely impact the Debtors’

 efforts to maximize the value of their estates.

                     Assumption and Assignment of the Assigned Contracts


        U.      The assumption and assignment of the Assigned Contracts pursuant to the terms of

 this Sale Order are integral to the Stalking Horse Purchase Agreement, are in the best interests of

 the Debtors and their respective estates, creditors, and other parties in interest, and represent the

 reasonable exercise of sound and prudent business judgment by the Debtors.

        V.      The Debtors have met all requirements of section 365(b) of the Bankruptcy Code

 for each of the Assigned Contracts. The Debtors have (i) cured and/or provided adequate

 assurance of cure of any default existing prior to the Closing under all of the Assigned Contracts,

 within the meaning of section 365(b)(1)(A) of the Bankruptcy Code and (ii) provided

 compensation or adequate assurance of compensation to any counterparty for actual pecuniary

 loss to such party resulting from a default prior to the Closing under any of the Assigned

 Contracts. The Purchaser has provided adequate assurance of future performance within the
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 meaning of sections 365(b)(1)(C) and 365(f)(2)(B) and in accordance with the Bidding

 Procedures to the extent that any such assurance is required and not waived by the counterparties

 to such Assigned Contracts.

        W.     At any time prior to the rejection of an executory contract, the Debtors shall have

 the right, in accordance with the Bidding Procedures Order, to serve a Supplemental Assumption

 Notice (as defined in the Bidding Procedures Order) upon any non-Debtor counterparty thereto

 indicating the Debtors’ intent to assume and assign such executory contract. The objection

 deadline for all Assigned Contracts, other than those subject to a Supplemental Assumption

 Notice, lapsed on [•], 2023. Objections, if any, to the proposed assumption and assignment or the

 Cure Costs proposed in any Supplemental Assumption Notice with respect thereto, must (i) be in

 writing, (ii) comply with the applicable provisions of the Bankruptcy Rules, the Local Rules, and

 the Case Management Order, (iii) state with specificity the nature of the objection and, if the

 objection pertains to the proposed Cure Costs, the correct Cure Costs alleged by the objecting

 counterparty, together with any applicable and appropriate documentation in support thereof, and

 (iv) be filed with the Court and served upon, so as to be actually received by, counsel to the

 Debtors and counsel to the Stalking Horse Bidder. If the parties cannot agree on a resolution, the

 Debtors will seek an expedited hearing before the Court to determine the Cure Costs and approve

 the assumption and assignment to Purchaser. If there is no objection prior to the applicable

 objection deadline, then the counterparties will be deemed to have consented to the assumption

 and assignment to Purchaser and the Cure Costs, and such assumption and assignment to
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 Purchaser and the Cure Costs shall be deemed approved by this Sale Order without further order

 of this Court.

        X.        The (i) transfer of the Acquired Assets to the Purchaser and (ii) assignment to the

 Purchaser of the Assigned Contracts, will not subject the Purchaser or any of its affiliates or

 designees to any liability whatsoever that arises prior to the Closing or by reason of such transfer

 under the laws of the United States, any state, territory, or possession thereof, or the District of

 Columbia, based, in whole or in part, directly or indirectly, on any theory of law or equity,

 including, without limitation, any theory of equitable law, any theory of antitrust, successor,

 transferee, derivative, or vicarious liability or any similar theory and/or applicable state or federal

 law or otherwise.

                                       Prompt Consummation


        Y.        Based on the record of the Sale Hearing, and for the reasons stated on the record at

 the Sale Hearing, the sale of the Acquired Assets must be approved and consummated promptly

 to preserve the value of the Acquired Assets. Time, therefore, is of the essence in effectuating the

 Stalking Horse Purchase Agreement. As such, the Debtors and the Purchaser intend to close the

 sale of the Acquired Assets as soon as reasonably practicable. The Debtors have demonstrated

 compelling circumstances and a good, sufficient, and sound business purpose and justification for

 the immediate approval and consummation of the Stalking Horse Purchase Agreement.
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 Accordingly, there is sufficient cause to waive the stay provided in the Bankruptcy Rules 6004(h)

 and 6006(d).

 NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

                                       General Provisions

        1.      The Motion is GRANTED to the extent set forth herein.

        2.      All objections to or reservation of rights with respect to the Motion or the relief

 requested therein that have not been withdrawn or resolved are overruled with prejudice. All

 persons and entities who did not object or withdraw their objections to the Motion are deemed to

 have consented pursuant to section 363(f)(2) of the Bankruptcy Code.

        3.      The Stalking Horse Purchase Agreement and the other Transaction Documents, and

 all terms and conditions thereof, are hereby approved in all respects. The failure to specifically

 include any particular provision of the Stalking Horse Purchase Agreement or the Transaction

 Documents in this Sale Order shall not diminish or impair the effectiveness of such provision.

        4.      [The Designated Back-Up Bidder is hereby approved as the Back-Up Bidder (as

 defined in the Bidding Procedures), and the Designated Back-Up Bid is hereby approved and

 authorized as the Back-Up Bid (as defined in the Bidding Procedures). To the extent necessary,

 the terms and conditions of the Back-Up Bid will be fully determined and approved at a later date

 pursuant to a separate sale order consistent with the terms of the Back-Up Bid.]
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             Transfer of the Acquired Assets as set forth in the Purchase Agreement


        5.      The Debtors are authorized and directed to (a) take any and all actions necessary or

 appropriate to perform, consummate, implement, and close the Sale in accordance with the terms

 and conditions set forth in the Transaction Documents and this Sale Order, (b) assume and assign

 any and all Assigned Contracts, and (c) take all further actions and execute and deliver the

 Transaction Documents and any and all additional instruments and documents that may be

 necessary or appropriate to implement the Stalking Horse Purchase Agreement and the other

 Transaction Documents and consummate the Sale in accordance with the terms thereof, all without

 further order of the Court.

        6.      The Purchaser is not acquiring any of the Excluded Assets or assuming any of the

 Excluded Liabilities.

        7.      All persons and entities are prohibited and enjoined from taking any action to

 adversely affect or interfere with, or which would be inconsistent with, the ability of the Debtors

 to transfer the Acquired Assets to the Purchaser (or its designee) in accordance with the Stalking

 Horse Purchase Agreement, the other Transaction Document and this Sale Order.

        8.      At Closing, all of the Debtors’ right, title, and interest in and to, and possession of,

 the Acquired Assets shall be immediately vested in the Purchaser (or its designee) pursuant to

 sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code. Such transfer shall constitute a

 legal, valid, enforceable, and effective transfer of the Acquired Assets. All persons or entities,

 presently or at or after the Closing, in possession of some or all of the Acquired Assets, are directed
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 to surrender possession of any and all portions of the Acquired Assets to the Purchaser (or its

 designee) or its respective designees on the Closing or at such time thereafter as the Purchaser (or

 its designee) may request.

        9.      This Sale Order (a) shall be effective as a determination that, as of the Closing,

 (i) no claims other than the Assumed Liabilities will be assertable against any Purchaser Party or

 any of its respective assets, (ii) the Acquired Assets shall have been transferred to the Purchaser

 (or its designee) free and clear of all liens, claims, interests, and encumbrances, subject only to the

 Assumed Liabilities, and (iii) the conveyances described herein have been effected, and (b) is and

 shall be binding upon and govern the acts of all entities, including, without limitation, all filing

 agents, filing officers, registrars of patents, trademarks, or other intellectual property,

 administrative agencies, governmental departments, secretaries of state, federal and local officials,

 and all other persons and entities who may be required by operation of law, the duties of their

 office, or contract, to accept, file, register, or otherwise record or release any documents or

 instruments; and each of the foregoing persons and entities is hereby directed to accept for filing

 any and all of the documents and instruments necessary and appropriate to consummate the

 transactions contemplated by the Stalking Horse Purchase Agreement and the other Transaction

 Documents. The Acquired Assets are sold free and clear of any reclamation rights. All liens,

 claims, interests, and encumbrances on the Acquired Assets shall attach to the proceeds of the Sale

 ultimately attributable to the property against which such liens, claims, interests, and

 encumbrances applied or other specifically dedicated funds, in the same order of priority and with
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                        Debtors to Enter Into and Perform Their Obligations under the Stalking
                        Horse Purchase Agreement, (III) Approving Assumption and Assignment
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 the same validity, force, and effect that such liens, claims, interests, and encumbrances applied

 prior to the Sale, subject to any rights, claims, and defenses of the Debtors or their estates, as

 applicable, or as otherwise provided herein.

        10.     Except as otherwise provided in the Stalking Horse Purchase Agreement, all

 persons and entities (and their respective successors and assigns), including, but not limited to, all

 debt security holders, equity security holders, affiliates, governmental, tax, and regulatory

 authorities, lenders, customers, vendors, employees, trade creditors, litigation claimants, and other

 creditors holding claims arising under or out of, in connection with, or in any way relating to, the

 Debtors, the Acquired Assets, and the ownership, sale, or operation of the Acquired Assets prior

 to Closing or the transfer of the Acquired Assets to the Purchaser (or its designee), are hereby

 forever barred, estopped, and permanently enjoined from asserting such claims against any

 Purchaser Party and its property (including, without limitation, the Acquired Assets). Following

 the Closing, no holder of any claim or interest shall interfere with the Purchaser’s (or its

 designee’s) title to or use and enjoyment of the Acquired Assets based on or related to any such

 claim or interest, or based on any action the Debtor may take in their Chapter 11 cases.

        11.     If any person or entity that has filed financing statements, mortgages, mechanic’s

 claims, lis pendens, or other documents or agreements evidencing claims against the Debtors or in

 the Acquired Assets shall not have delivered to the Debtors prior to the Closing of the Sale, in

 proper form for filing and executed by the appropriate parties, termination statements, instruments

 of satisfaction, and/or releases of all liens, claims, interests, and encumbrances that the person or
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 entity has with respect to the Debtors or the Acquired Assets or otherwise, then only with regard

 to the Acquired Assets that are purchased by the Purchaser (or its designee) pursuant to the Stalking

 Horse Purchase Agreement and this Sale Order, (a) the Debtors are hereby authorized and directed

 to execute and file such statements, instruments, releases, and other documents on behalf of the

 person or entity with respect to the Acquired Assets, (b) the Purchaser (or its designee) is hereby

 authorized to file, register, or otherwise record a certified copy of this Sale Order, which, once

 filed, registered, or otherwise recorded, shall constitute conclusive evidence of the release of all

 liens, claims, interests, and encumbrances against the Purchaser Parties and the Acquired Assets,

 and (c) upon consummation of the Sale, the Purchaser (or its designee) may seek in this Court or

 any other court to compel appropriate parties to execute termination statements, instruments of

 satisfaction, and releases of all liens, claims, interests, and encumbrances that are extinguished or

 otherwise released pursuant to this Sale Order under section 363 of the Bankruptcy Code, and any

 other provisions of the Bankruptcy Code, with respect to the Acquired Assets. This Sale Order is

 deemed to be in recordable form sufficient to be placed in the filing or recording system of each

 and every federal, state, or local government agency, department, or office. Notwithstanding the

 foregoing, the provisions of this Sale Order authorizing the Sale and assignment of the Acquired

 Assets free and clear of liens, claims, interests, and encumbrances shall be self-executing and

 neither the Debtors nor the Purchaser (or its designee) shall be required to execute or file releases,

 termination statements, assignments, consents, or other instruments to effectuate, consummate,

 and implement the provisions of this Sale Order.
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                               No Successor or Transferee Liability


        12.     No Purchaser Party shall be deemed, as a result of any action taken in connection

 with the Stalking Horse Purchase Agreement, the consummation of the Sale contemplated by the

 Stalking Horse Purchase Agreement, or the transfer, operation, or use of the Acquired Assets to

 (a) be a legal successor, or otherwise be deemed a successor to the Debtors (other than, for the

 Purchaser, with respect to any Assumed Liabilities arising after the Closing), (b) have, de facto or

 otherwise, merged with or into the Debtors, or (c) be an alter ego or a mere continuation or

 substantial continuation of the Debtors or the enterprise of the Debtors including, without

 limitation, within the meaning of any foreign, federal, state, or local revenue law, pension law, the

 Employee Retirement Income Security Act of 1974 (“ERISA”), tax law, labor law, products

 liability law, employment law, environmental law, or other law, rule, or regulation (including,

 without limitation, filing requirements under any such laws, rules or regulations), or under any

 products liability law or doctrine with respect to the Debtors’ liability under such law, rule, or

 regulation.

        13.     Immediately prior to the Closing, the Purchaser was not an “insider” or “affiliate”

 of the Debtors, as those terms are defined in the Bankruptcy Code, and no common identity of

 incorporators, directors or controlling stockholders existed between the Purchaser and the Debtors.

        14.     Other than as expressly set forth in the Stalking Horse Purchase Agreement, no

 Purchaser Party shall have any responsibility for (a) any liability or other obligation of the Debtors

 or related to the Acquired Assets or (b) any claims against the Debtors or any of their predecessors
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 or affiliates. Except as expressly provided in the Stalking Horse Purchase Agreement with respect

 to the Purchaser, no Purchaser Party shall have any liability whatsoever with respect to the

 Debtors’ (or their predecessors’ or affiliates’) respective businesses or operations or any of the

 Debtors’ (or their predecessors’ or affiliates’) obligations (as defined herein, “Successor or

 Transferee Liability”) based, in whole or part, directly or indirectly, on any theory of successor or

 vicarious liability of any kind or character, or based upon any theory of antitrust, environmental,

 successor, or transferee liability, de facto merger or substantial continuity, labor and employment

 or products liability, whether known or unknown as of the Closing, now existing or hereafter

 arising, asserted or unasserted, fixed or contingent, liquidated or unliquidated, including, without

 limitation, liabilities on account of (a) any taxes arising, accruing, or payable under, out of, in

 connection with, or in any way relating to the Acquired Assets or the Assumed Liabilities prior to

 the Closing or in respect of pre-Closing periods or (b) any plan, agreement, practice, policy, or

 program, whether written or unwritten, providing for pension, retirement, health, welfare,

 compensation or other employee benefits which is or has been sponsored, maintained or

 contributed to by any Debtor or with respect to which any Debtor has any liability, whether or not

 contingent, including, without limitation, any “multiemployer plan” (as defined in Section 3(37)

 of ERISA) or “pension plan” (as defined in Section 3(2) of ERISA) to which any Debtor has at

 any time contributed, or had any obligation to contribute. No Purchaser Party shall have any

 liability or obligation under any applicable law, including, without limitation, (a) the WARN Act

 (29 U.S.C. §§ 2101 et seq.), (b) the Comprehensive Environmental Response Compensation and
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 Liability Act, (c) the Age Discrimination and Employment Act of 1967 (as amended), (d) the

 Federal Rehabilitation Act of 1973 (as amended), (e) the National Labor Relations Act, 29 U.S.C.

 § 151 et seq. (the “NLRA”), or (f) any foreign, federal, state, or local labor, employment or

 environmental law, by virtue of the Purchaser’s purchase of the Acquired Assets, assumption of

 the Assumed Liabilities, or hiring of certain employees of the Debtors pursuant to the terms of the

 Stalking Horse Purchase Agreement. Without limiting the foregoing, no Purchaser Party shall

 have any liability or obligation with respect to any environmental liabilities of the Debtors or any

 environmental liabilities associated with the Acquired Assets.

        15.     Effective upon the Closing, all persons and entities are forever prohibited and

 enjoined from commencing or continuing in any matter any action or other proceeding, whether

 in law or equity, in any judicial, administrative, arbitral, or other proceeding against any Purchaser

 Party or their respective assets (including, without limitation, the Acquired Assets), with respect

 to any (a) claim in these Chapter 11 cases or in connection with or related to the Sale or the Debtors

 or (b) Successor or Transferee Liability including, without limitation, the following actions with

 respect to clauses (a) and (b): (i) commencing or continuing any action or other proceeding

 pending or threatened; (ii) enforcing, attaching, collecting, or recovering in any manner any

 judgment, award, decree, or order; (iii) creating, perfecting, or enforcing any lien, claim, interest,

 or encumbrance; (iv) asserting any setoff, right of subrogation, or recoupment of any kind;

 (v) commencing or continuing any action, in any manner or place, that does not comply with, or

 is inconsistent with, the provisions of this Sale Order or other orders of this Court, or the
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 agreements or actions contemplated or taken in respect hereof; or (vi) revoking, terminating,

 failing, or refusing to renew any license, permit, or authorization to operate any business in

 connection with the Acquired Assets or conduct any of the businesses operated with respect to

 such assets.

                                     Good Faith of Purchaser


        16.     The Sale contemplated by the Purchase Agreement is undertaken by the Purchaser

 without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy

 Code, and accordingly, the reversal or modification on appeal of the authorization provided herein

 to consummate the Sale shall not affect the validity of the Sale (including, without limitation, the

 assumption and assignment of the Assigned Contracts), unless such authorization and

 consummation of such Sale are duly and properly stayed pending such appeal.

        17.     Neither the Debtors nor the Purchaser have engaged in any action or inaction that

 would cause or permit the Sale to be avoided or costs or damages to be imposed under section

 363(n) of the Bankruptcy Code. The consideration provided by the Purchaser for the Acquired

 Assets under the Purchase Agreement is fair and reasonable and the Sale may not be avoided, and

 costs and damages may not be imposed, under section 363(n) of the Bankruptcy Code.

                      Assumption and Assignment of Assigned Contracts


        18.     The Debtors are authorized and directed at the Closing to assume and assign each

 of the Assigned Contracts to the Purchaser (or its designee) pursuant to sections 105(a) and 365 of
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 the Bankruptcy Code and to execute and deliver to the Purchaser (or its designee) such documents

 or other instruments as may be necessary to assign and transfer the Assigned Contracts to the

 Purchaser (or its designee). The payment of the applicable Cure Costs (if any) shall (a) effect a

 cure of all defaults existing thereunder as of the Closing and (b) compensate for any actual

 pecuniary loss to such counterparty resulting from such default.

         19.     Pursuant to section 365(f) of the Bankruptcy Code, subject to the payment of the

 applicable Cure Costs, the Assigned Contracts to be assumed and assigned under the Stalking

 Horse Purchase Agreement shall be assigned and transferred to, and remain in full force and effect

 for the benefit of, the Purchaser (or its designee) notwithstanding any provision in the contracts or

 other restrictions prohibiting their assignment or transfer. Any provisions in any Assigned

 Contract that prohibit or condition the assignment of such Assigned Contract to the Purchaser (or

 its designee) or allow the counterparty to such Assigned Contract to terminate, recapture, impose

 any penalty, condition on renewal or extension, or modify any term or condition upon the

 assignment of such Assigned Contract to the Purchaser (or its designee), constitute unenforceable

 anti-assignment provisions that are void and of no force and effect. All other requirements and

 conditions under sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtors

 and assignment to the Purchaser (or its designee) of the Assigned Contracts have been satisfied.

 Upon the Closing, in accordance with sections 363 and 365 of the Bankruptcy Code, the Purchaser

 (or its designee) shall be fully and irrevocably vested with all right, title, and interest of the Debtors

 under the Assigned Contracts, and such Assigned Contracts shall remain in full force and effect
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 for the benefit of the Purchaser (or its designee). Each counterparty to the Assigned Contracts

 shall be forever barred, estopped, and permanently enjoined from (a) asserting against the Debtors

 or any Purchaser Party or their respective property any assignment fee, acceleration, default,

 breach or claim or pecuniary loss, or condition to assignment existing, arising or accruing as of the

 Closing or arising by reason of the Closing, including, without limitation, any breach related to or

 arising out of change-in-control provisions in such Assigned Contracts, or any purported written

 or oral modification to the Assigned Contracts and (b) asserting against any Purchaser Party (or its

 respective property, including, without limitation, the Acquired Assets) any claim, counterclaim,

 defense, breach, condition, or setoff asserted, or assertable against the Debtors existing as of the

 Closing or arising by reason of the Closing except for the Assumed Liabilities.

        20.     Upon the Closing and the payment of the relevant Cure Costs, if any, the Purchaser

 (or its designee) shall be deemed to be substituted for the Debtors as a party to the applicable

 Assigned Contracts and the Debtors shall be released, pursuant to section 365(k) of the Bankruptcy

 Code, from any liability under the Assigned Contracts. There shall be no assignment fees,

 increases, or any other fees charged to the Purchaser (or its designee) or the Debtors as a result of

 the assumption and assignment of the Assigned Contracts. The failure of the Debtors or the

 Purchaser (or its designee) to enforce at any time one or more terms or conditions of any Assigned

 Contract shall not be a waiver of such terms or conditions or of the right of the Debtors or the

 Purchaser (or its designee), as the case may be, to enforce every term and condition of such

 Assigned Contract. The validity of the assumption and assignment of any Assigned Contract to
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 the Purchaser (or its designee) shall not be affected by any existing dispute between the Debtors

 and any counterparty to such Assigned Contract. Any party that may have had the right to consent

 to the assignment of any Assigned Contract is deemed to have consented for the purposes of section

 365(e)(2)(A) of the Bankruptcy Code.

        21.     All defaults or other obligations of the Debtors under the Assigned Contracts

 arising or accruing after the Sale Objection Deadline and prior to the Closing (without giving effect

 to any acceleration clauses or any default provisions of the kind specified in section 365(b)(2) of

 the Bankruptcy Code) shall be cured on the Closing, or as soon thereafter as reasonably practicable.

        22.     The assignments of each of the Assigned Contracts are made in good faith under

 sections 363(b) and (m) of the Bankruptcy Code.

                                          Other Provisions


        23.     To the maximum extent permitted by applicable law, and in accordance with the

 Stalking Horse Purchase Agreement, the Purchaser (or its designee) shall be authorized, as of the

 Closing, to operate under any license, permit, registration, and governmental authorization or

 approval (collectively, the “Licenses”) of the Debtors with respect to the Acquired Assets. To the

 extent the Purchaser (or its designee) cannot operate under any Licenses in accordance with the

 previous sentence, such Licenses shall be in effect while the Purchaser (or its designee), with

 assistance from the Debtors, works promptly and diligently to apply for and secure all necessary

 government approvals for new issuance of Licenses to the Purchaser (or its designee). The Debtors
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 shall maintain the Licenses in good standing to the fullest extent allowed by applicable law for the

 Purchaser’s benefit until equivalent new Licenses are issued to the Purchaser (or its designee).

        24.     To the extent provided by section 525 of the Bankruptcy Code, no governmental

 unit may revoke or suspend any permit or License relating to the Acquired Assets sold, transferred,

 or conveyed to the Purchaser (or its designee) on account of the filing or pendency of these chapter

 11 cases or the consummation of the Sale contemplated by the Stalking Horse Purchase

 Agreement.

        25.     The automatic stay pursuant to section 362 of the Bankruptcy Code is hereby lifted

 with respect to the Debtors to the extent necessary, without further order of the Court, (a) to allow

 the Purchaser to give the Debtors any notice provided for in the Stalking Horse Purchase

 Agreement, (b) to allow the Purchaser to take any and all actions permitted by the Stalking Horse

 Purchase Agreement in accordance with the terms and conditions thereof, including, without

 limitation, effectuating the Sale and the other transactions contemplated by the Stalking Horse

 Purchase Agreement and (c) to otherwise implement the terms and provisions of the Stalking

 Horse Purchase Agreement and this Sale Order.

        26.     The terms and provisions of the Stalking Horse Purchase Agreement, the other

 Transaction Documents and this Sale Order shall be binding in all respects upon the Debtors, their

 affiliates, their estates, all creditors of (whether known or unknown) and holders of equity interests

 in any Debtor, any holders of claims against or on all or any portion of the Acquired Assets, all

 counterparties to the Assigned Contracts, the Purchaser, and all of their respective successors and
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 assigns including, but not limited to, any subsequent trustee(s), examiner(s), or receiver(s)

 appointed in any of the Debtors’ chapter 11 cases or upon conversion to Chapter 7 under the

 Bankruptcy Code, as to which trustee(s), examiner(s), or receiver(s) such terms and provisions

 likewise shall be binding. The Stalking Horse Purchase Agreement shall not be subject to rejection

 or avoidance by the Debtors, their estates, their creditors, their shareholders, or any trustee(s),

 examiner(s), or receiver(s).

        27.     The terms and provisions of this Sale Order and any actions taken pursuant hereto

 shall survive entry of an order which may be entered: (a) confirming any chapter 11 plan in any

 of these chapter 11 cases; (b) converting any of the chapter 11 cases to a case under chapter 7 of

 the Bankruptcy Code; (c) dismissing any of the Chapter 11 cases; or (d) pursuant to which this

 Court abstains from hearing any of the chapter 11 cases. The terms and provisions of this Sale

 Order, notwithstanding the entry of any such orders described in (a)-(d) above, shall continue in

 these chapter 11 cases, or following dismissal of these chapter 11 cases.

        28.     Each and every federal, state, and local governmental agency, department, or

 official is hereby directed to accept any and all documents and instruments necessary and

 appropriate to consummate the transactions contemplated by the Purchase Agreement.

        29.     The Stalking Horse Purchase Agreement and the Sale contemplated hereunder shall

 not be subject to any bulk sales laws or any similar law of any state or jurisdiction.

        30.     The Stalking Horse Purchase Agreement may be modified, amended, or

 supplemented by the parties thereto in accordance with the terms thereof, without further order of
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 the Court, provided that any such modification, amendment, or supplement does not, based on the

 Debtors’ business judgment, and in consultation with the Consultation Parties (as defined in the

 Bidding Procedures), have a material adverse effect on the Debtors’ estates or their creditors.

 The Debtors shall provide the Consultation Parties with prior notice of any such modification,

 amendment, or supplement of the Purchase Agreement. For the avoidance of doubt, all other

 modifications, amendments, or supplements that have a material adverse effect on the Debtors’

 estates or their creditors shall require Court approval.

        31.     For the avoidance of doubt, nothing herein shall modify, alter, impair, or otherwise

 affect any of the provisions of the Final DIP Order or the DIP Documents (as defined in the Final

 DIP Order), or the rights or remedies of the DIP Agent or the DIP Secured Parties under the DIP

 Documents except with respect to the Acquired Assets.

        32.     All time periods set forth in this Sale Order shall be calculated in accordance with

 Bankruptcy Rule 9006(a).

        33.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

 7062, and 9014 or otherwise, the terms and conditions of this Sale Order shall be effective

 immediately upon entry and the Debtors and the Purchaser are authorized to close the Sale

 immediately upon entry of this Sale Order.

        34.     To the extent there is any conflict between the terms of this Sale Order and the

 Stalking Horse Purchase Agreement, the terms of this Sale Order shall control. Nothing contained

 in any chapter 11 plan hereinafter confirmed in these chapter 11 cases or any order confirming
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 such chapter 11 plan, or any other order of the Court, shall conflict with or derogate from the

 provisions of the Stalking Horse Purchase Agreement or any other Transaction Document or the

 terms of this Sale Order, unless otherwise agreed by the Debtors and the Purchaser.

        35.    The Court shall retain exclusive jurisdiction with respect to the terms and

 provisions of this Sale Order and the Stalking Horse Purchase Agreement.
